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                UNITED STATES DISTRICT COURT FOR THE
                  SOUTHERN DISTRICT OF NEW YORK

Jane Doe 1, individually       )
and on behalf of all others similarly
                               )             FIRST AMENDED CLASS
situated,                      )             ACTION COMPLAINT
                               )
      Plaintiff,               )             JURY TRIAL DEMANDED
                               )
                               )
v.                             )             Case No.: 22-cv-10018-JSR
                               )
Deutsche Bank                  )
Aktiengesellschaft,            )
Deutsche Bank AG New York      )
Branch, Deutsche Bank Trust    )
Company Americas,              )
                               )
      Defendants.              )
_______________________________/

  FIRST AMENDED INDIVIDUAL AND CLASS ACTION COMPLAINT

     Plaintiff Jane Doe 1 files this first amended individual and civil class action

complaint for damages and other relief under (among other provisions of law) the

United States federal anti-sex-trafficking statute, 18 U.S.C. §§ 1591–95, et seq.—

the Trafficking Victim Protection Act (“TVPA”)—and 18 U.S.C. §§ 1961–68, et

seq.—the Racketeer Influenced and Corrupt Organizations Act (“RICO”), as well as

for aiding and abetting, intentional infliction of emotional distress and negligence

related to the commission of chapter one hundred thirty New York sex offenses,

timely under the New York Adult Survivors Act. This suit arises from Defendants

Deutsche Bank Aktiengesellschaft’s, Deutsche Bank AG New York Branch’s, and
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Deutsche Bank Trust Company America’s (hereinafter referred to collected as

“Deutsche Bank”), participating in and financially benefitting from their direct and

intentional involvement in Jeffrey Epstein’s sex-trafficking venture by providing the

financial lifeblood and infrastructure for the venture’s continued operation.

      Deutsche Bank knowingly benefited and received things of value for assisting,

supporting, facilitating, and otherwise providing the most critical tool for the Jeffrey

Epstein sex-trafficking organization to successfully rape, sexually assault, and

coercively sex traffic Plaintiff and the numerous other members of the class

proposed below (the “Class”). Deutsche Bank knew that Epstein was regularly

committing violations of New York Penal Law Art. 130, including and especially

New York Penal Law §§ 130.20 (sexual misconduct), 130.35 (rape in the first

degree), 130.50 (criminal sexual acts in the first degree), 130.52 (forcible touching),

130.66 (aggravated sexual abuse in the third degree) and 130.70 (aggravated sexual

abuse in the first degree). Deutsche Bank aided and abetted those crimes, as well as

acted in a negligent manner to directly and proximately cause those crimes, enabling

Epstein to commit such offenses against countless young women.

      Deutsche Bank also knew that Epstein would use means of force, threats of

force, fraud, abuse of legal process, and a variety of other forms of coercion to cause

young women and girls to engage in commercial sex acts. Deutsche Bank also

engaged in repeated acts of racketeering activity to support the Epstein organization.

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Knowing that they would earn millions of dollars from facilitating Epstein’s sex

trafficking, and from its relationship with Epstein, Deutsche Bank chose financial

gain over following the law. Specifically, Deutsche Bank chose to facilitate a sex

trafficking operation in order to churn profits.

      Jane Doe makes the following allegations on information and belief and

believes that substantial additional evidentiary support will exist for the allegations

set forth herein after a reasonable opportunity for discovery:

                 I. JURISDICTION, VENUE, AND TIMELINESS

      1.       This action is brought pursuant to various federal and state statutes,

including the TVPA, 18 U.S.C. § 1589 through § 1595. This Court has federal-

question subject-matter jurisdiction pursuant to 28 U.S.C. § 1331, because Jane Doe

1—individually and on behalf of the other Class Members—proceeds under the

TVPA.

      2.       This Court also has supplemental jurisdiction of the state law claims

recounted below pursuant to 28 U.S.C. § 1367(a), because all claims alleged herein

are part of a uniform pattern and practice and form part of the same case or

controversy.

      3.       This Court is “an appropriate district court of the United States” in

accordance with 18 U.S.C. § 1595, in which to bring this action. Venue is proper in

this District under 28 U.S.C. § 1391(b)(2), because Jeffrey Epstein, his co-

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conspirators, and Deutsche Bank all conducted substantial activities in this District.

Deutsche Bank knowingly aided and abetted, facilitated, and directly participated in

Epstein’s illegal venture through actions that originated in this District. In addition,

Epstein sexually abused and trafficked Jane Doe 1, and Members of the Class is this

District.

       4.    These acts of sexual abuse and commercial sex committed by Jeffrey

Epstein and certain select friends of his often took place in Epstein’s New York

mansion, located within this District at 9 East 71st Street, New York City. Epstein

also used his New York mansion to harbor his victims and as a base from which to

transport them to other locations outside of New York.

       5.    A substantial part of the acts, events, and omissions giving rise to this

cause of action occurred in this District.

       6.    This action has been timely filed pursuant to 18 U.S.C. § 1595(c)(1),

which provides that a plaintiff shall have ten years after the cause of action arose to

file suit against any person who knowingly benefits, financially or by receiving

anything of value from participation in a venture which that person knew or should

have known violated the laws against sex trafficking. This action involves a long-

running conspiracy, which Deutsche Bank joined while it was on-going. Deutsche

Bank ratified the earlier-committed acts of the conspiracy. This action is also timely

under RICO and New York’s Adult Survivors Act.

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                                     II. PARTIES

       7.     Jane Doe 1 is a United States citizen and was at all relevant times a

resident of and domiciled in the State of New York.

       8.     Jane Doe 1 is using a pseudonym to protect her identity because of the

sensitive and highly personal nature of this matter, which involves sexual assault and

abuse. See Order Granting Motion for Leave to Proceed Anonymously, Dkt. 28.

       9.     Jane Doe 1 is also at serious risk of retaliatory harm because the co-

conspirators who participated in the Epstein sex-trafficking venture had—and

continue to possess—tremendous wealth and power and have demonstrated a clear

ability to cause her serious harm.

       10.    Jane Doe 1’s safety, right to privacy, and security outweigh the public

interest in her identification.

       11.    Jane Doe 1’s legitimate concerns outweigh any prejudice to Defendants

by allowing her to proceed anonymously.

       12.    As discussed below, many other women, who are victims and survivors

of sexual abuse and trafficking are similarly situated to Jane Doe 1 and also need to

proceed anonymously for the same reasons. The identities of many of these other

women are known to Defendants and in other proceedings the identities of the other

Epstein victims have been protected.

       13.    Defendant Deutsche Bank AG is a global financial institution

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headquartered in Frankfurt, Germany.

      14.    Defendant Deutsche Bank AG is licensed by the New York State

Department of Financial Services to operate a foreign bank branch in the State of

New York, the Deutsche Bank AG New York Branch (the “New York Branch”),

and also operates a trust company, Deutsche Bank Trust Company Americas

(“DBTCA”), which is likewise licensed and supervised by the Department.

      15.    Unless otherwise indicated, the three Defendants—Deutsche Bank AG,

the New York Branch, and DBTCA—are referred to collectively as “Deutsche

Bank” in this complaint.

      16.    Defendants Deutsche Bank AG, the New York Branch, and DBTCA all

currently conduct substantial business in this District and conducted substantial

business at the time of events covered in this complaint.

      17.    As one example of business conducted in this District, Deutsche Bank

ordinarily trades shares on the New York Stock Exchange, located in this District.

As another example, Deutsche Bank maintains branch banks within this District.

      18.    Deutsche Bank’s financial activities, including the events alleged

herein, were in and affecting interstate and foreign commerce. In connection with

the acts alleged in this complaint, Defendants, directly or indirectly, used the means

and instrumentalities of interstate commerce, including, but not limited to, the mails,

interstate telephone communications, and the facilities of national securities

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markets.

       19.     Deutsche Bank is responsible, under United States law and otherwise,

for the acts of its officers, directors, employees, and agents, including for the acts

described in this complaint. The acts alleged were committed by Deutsche Bank’s

officers, directors, employees, and agents within the scope of their employment and

with the intention, at least in part, to benefit Deutsche Bank.

       20.     Numerous Deutsche Bank employees, including Paul Morris, Charles

Packard and Patrick Harris, were integral in onboarding Epstein and the many

Epstein-related entities to Deutsche Bank.

       21.     Paul Morris joined Deutsche Bank as a relationship manager in

November 2012. During his tenure, he was involved in bringing Jeffrey Epstein

over to Deutsche Bank from JP Morgan Chase as a client and maintaining Epstein

as a client.

       22.     Charles Packard was co-head of Deutsche Bank’s Wealth Management

Americas Group when Epstein became a client. Packard was involved in approving

Epstein as a Deutsche Bank client and maintaining Epstein as a client.

       23.     Patrick Harris was the Chief Operating Officer of Wealth Management

Americas for Deutsche Bank. Harris was involved in approving and maintaining

Epstein as a Deutsche Bank client.

                               III. INTRODUCTION

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A. Overview of the Jeffrey Epstein Sex-Trafficking Venture and Conspiracy.

       24.      Before Jeffrey Epstein was ever brought over to Deutsche Bank, he was

well known as a registered sex offender and sex trafficker who spent his day-to-day

life sexually abusing young females and constantly recruiting others. He had

previously established a sex-trafficking venture and conspiracy, which was on-going

at the time Deutsche Bank became his banker. That conspiracy began in 1998, if not

earlier.

       25.      Epstein’s sex-trafficking venture operated in many respects as a sex-

themed cult designed to ensnare vulnerable young women and indoctrinate them into

Epstein’s carefully constructed world in which Epstein was their messiah and sex

abuser.

       26.      Each victim was led to believe that Epstein was the most powerful man

in the world, with the most powerful connections. Epstein and his co-conspirators

preached the Gospel of Epstein. Epstein’s victims were taught to do what he said

and he would protect them; but disobey him, and he would punish them and cause

them serious harm from which they could never recover.

       27.      Once in Epstein’s clutches, each victim was taught and led to believe

that she must be completely compliant with every wish or demand Epstein had for

her; otherwise, she would certainly suffer serious reputational, financial, property,

and psychological harm. By using these and other means of force, threats of force,

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fraud, threats of abuse of the legal process, and coercion, Epstein and his co-

conspirators sexually trafficked and sexually abused Plaintiff Jane Doe 1 and the

other Members of the Class.

      28.      As is evident from this complaint and public reporting on Epstein, he

was indeed an enormously powerful man, known to have close personal

relationships with former U.S. Presidents, politicians, billionaires, other world

leaders, and British Royalty, and to have the backing and support of powerful

banking institutions which was essential to maintaining Epstein’s persona as a

respectable and powerful person despite the fact that he was a sex-trafficking serial

abuser.

      29.      Epstein began his sex-trafficking venture and conspiracy in 1998 and

perhaps earlier. From its inception until Jeffrey Epstein’s arrest by the FBI for sex

trafficking in 2019 (and his subsequent death on August 10, 2019, by apparent

suicide), the venture operated with a purpose of luring young women and girls into

a position where Jeffrey Epstein and his co-conspirators could coerce them to engage

in commercial sex acts and commit sexual offenses against them. His venture also

operated to conceal its sex trafficking from law enforcement organizations. And his

venture operated with a purpose to provide financial and other benefits to those who

assisted and enabled the venture.

      30.      The Epstein sex-trafficking venture and conspiracy was well-structured

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from at least 1998 and grew increasingly more powerful as it victimized more young

women.

      31.    Epstein did not, and could not, act alone. He created and maintained

his sex-trafficking venture and conspiracy with the assistance of other influential

individuals and entities who knew he was sexually trafficking young women and

girls yet supported his sex-trafficking operation in order to obtain financial and other

favors from Epstein.

      32.    Epstein’s sex-trafficking venture and conspiracy was not possible

without the assistance and knowing complicity of a financial institution—

specifically, a banking institution—which provided his operation not only with the

means to conduct sex trafficking but also with an appearance of legitimacy, thereby

ensuring its continued operation without fear of being reported to law enforcement

or being arrested. Without the financial institution’s knowing participation,

Epstein’s sex-trafficking scheme could not have logistically operated and Epstein’s

appearance to the outside world, including his victims, as a powerful and protected

person could not have been maintained.

      33.    Epstein’s victims were young women and girls, who suffered severe

abuse as Epstein’s sex-trafficking victims and who believed they had to remain loyal

to the venture at all costs in order to survive. During the times relevant to this action,

Epstein victimized hundreds of young women and girls.

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      34.    Epstein’s sex-trafficking scheme was supported by virtually unlimited

wealth, although Deutsche Bank knew that Epstein’s self-professed job of “money

manager to billionaires” was false.

      35.    Epstein masterfully assessed the specific needs and vulnerability of

each of his targeted victims. He then closed the trap on his victims with offers of

money, food, shelter, medical care travel, schooling, and career opportunities for

them or family members.         Epstein groomed the young women and girls,

indoctrinating them to believe that the sexual abuse was normal.

      36.    Epstein fraudulently represented to the victims that he would take care

of them in various ways, which ultimately allowed Epstein to cause them to engage

in commercial sex acts with himself (and, on occasion, others), as well as to create

the opportunity for Epstein to sexually abuse them.

      37.    The Epstein sex-trafficking venture’s and conspiracy’s purpose

included enticing, obtaining, harboring, and transporting the young victims for

Epstein to sexually abuse without drawing unwanted attention from law

enforcement. The venture had everything a sex-trafficking organization needed—

funding, infrastructure, the appearance of legitimacy, and, most importantly, a

complicit banking institution to ensure the illegal operation could continue to grow

undetected by law enforcement. By many accounts, it was the most powerful and

wealthiest sex-trafficking venture ever created.

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      38.    The Epstein sex-trafficking venture knowingly used means of force,

threats of force, fraud, coercion (including threats of serious harm or physical

restraint), and abuse of law and the legal process, to cause Jane Doe 1 and many

dozens of others similarly situated to engage in commercial sex acts.

      39.    The Epstein sex-trafficking venture operated in and affecting interstate

and foreign commerce. Epstein recruited, solicited, coerced, harbored, transported,

and enticed some of his victims, including Jane Doe 1 and others similarly situated,

to engage in commercial sex acts in, among other places, New York (including the

Southern District of New York), Florida, the U.S. Virgin Islands, England, and

France.

      40.    The Epstein sex-trafficking venture operated throughout the world from

(at least) in and around 1998 through in and around August 10, 2019, when Epstein

died by apparent suicide.

      41.    After Epstein’s death, to and including the date of this complaint,

members of the sex-trafficking venture continued to further the venture by

concealing the activities and extent of the venture.

      42.    In 2006, Jeffrey Epstein was arrested in Florida after state and federal

law enforcement discovered that he had sexually abused more than 30 children in

his Palm Beach, Florida mansion. During that investigation, it was concluded that

Epstein and his co-conspirators had committed federal criminal acts constituting

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violations of 18 U.S.C §§ 2422(b), 2422(2), 2423(f), 2423(b), 2424(e), 18 U.S.C §

371, 18 U.S.C § 1591(c)(1) and 1591(a)(1) & (2), as well as state crimes in violation

of Florida Statutes §§ 796.07 and 796.03. Epstein committed these crimes against

dozens of young women and girls, some as young as 14 years old. With respect to

the specific discoveries, the United States Attorney’s Office for the Southern District

of Florida found that some of the victims “went to Mr. Epstein’s house only once,

some went there as much as 100 times or more.”

      43.    As a consequence of the Florida investigation, Epstein pled guilty to

two felony sex offenses, and was permanently labeled as a “Registered Sex

Offender.” He was jailed for these felonies in 2008.

      44.    The 2006 criminal investigation uncovered a mountain of evidence that

became public, including documents obtained through trash pulls outside Epstein’s

home, documents discovered in a search warrant, and extensive travel records. This

evidence revealed details about Epstein’s life-style, daily activities, and the unique

manner of operation for his sex-trafficking venture.

      45.    Epstein’s criminal case in Florida and the many related police reports

and news reports left no doubt about Epstein’s extraordinary penchant for sexually

abusing and trafficking young women and girls from (at least) about 2005 onwards.

For instance, it was revealed that until the time of his Florida arrest, Epstein was

sexually abusing three to four young females per day, in every location he was in at

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the time. Sexually abusing young girls and women was a full-time job for him, from

which he never took a vacation or hiatus.

        46.   Beginning with his Florida arrest and for years after, Epstein was

embroiled in dozens of highly public lawsuits documenting his sexual abuse of his

victims. Thousands of news stories circulated worldwide about his sexual crimes.

        47.   The manner and means of Epstein’s sex trafficking operation was

widely publicized after his 2006 arrest. It was well-known that he would lure young

women or girls to one of his luxurious mansions, under the guise of being a wealthy

philanthropist. Epstein would claim to be able to provide them something they

needed or wanted, such as cash money, advancement of careers, education, or other

life necessities. Once his victim was under Epstein’s control, he would force his

victim into providing a massage that would turn sexual, and from there he would

sexually abuse them and cause them to engage in a variety of forced commercial sex

acts.

        48.   Once in Epstein’s presence, each victim knew there was no realistic

option to disobey him. It was well known and understood that he was one of the

most powerful and connected people in the United States, able to help any of these

young victims if they complied, and through his coercive techniques Epstein made

clear that he was also able to significantly harm any of his victims of they refused

his wishes.

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      49.    While Epstein’s first sexual abuse occurred in the early 1990s with the

complicity of his then-paramour, Ghislaine Maxwell, Epstein’s appetite for sexual

abusing young women and girls grew over the years. His sex-trafficking and abuse

had crystalized in a well- organized and well-defined conspiracy by as early as 1998.

      50.    The Florida criminal investigation uncovered that Epstein’s sex-

trafficking operation grew its number of victims exponentially in the early 2000s.

      51.    One major reason why Epstein’s sex-trafficking venture accumulated

new victims at an alarming rate beginning in 2000 was his access to unlimited

amounts of cash and a bank that would knowingly support and protect his sex-

trafficking operation.

      52.    Without exorbitantly large amounts of cash, his operation could not run,

as newly recruited victims were each paid hundreds of dollars in cash immediately

after Epstein sexually abused them, as hush money.

      53.    Each victim was also informed that she would be paid hundreds of

dollars in cash for each additional victim she recruited, and Epstein made good on

that promise of large cash payments.

      54.    The public police reports, documents, and articles stemming from the

2006 arrest made abundantly clear that Epstein was doling out thousands of dollars

in cash every day as hush money to victims he was sexually abusing and to victims

he was using to recruit additional victims.

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      55.    If Epstein paid every victim, including the young children, with wire

transfers, his illegal sex trafficking operation would have been easily uncovered;

however, with access to unlimited amounts of cash, Epstein was able to commit the

most egregious sexual crimes many times a day without leaving a trail for each sex

crime he committed.

      56.    Because Epstein’s vast wealth—said to have been more than a billion

dollars—was maintained in seemingly legitimate financial institutions, he had

greater power to wield in order to coerce his victims.

      57.    In order to access the large amount of cash needed to maintain his active

sexual abuse of young women, Epstein needed the financial institution where he

banked to be complicit in his operation. More specifically, Epstein needed a bank

that would allow him to constantly withdraw cash from his accounts, without regard

to anti-money laundering prohibitions and currency transaction reporting

requirements.

      58.    This scheme of paying victims to bring other victims worked

effectively because it not only allowed expansion through the recruitment of other

victims in a pyramid-scheme fashion, but it also allowed each victim a possibility to

avoid future sexual abuse—she could bring someone else who would be abused in

her place.

      59.    This constant expansion of sex-trafficking victims required cash on

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hand for Epstein to pay many of his victims on the spot at the time of the abuse as

hush money for the sexual abuse she was suffering as well as each victim’s finder’s

fee for bringing another victim.

      60.    In addition to the inner workings of Epstein’s sex-trafficking scheme

being public when he served his jail time in Florida, other relevant information about

Epstein was widely published: he had no college degree, had never obtained any

specialized license, none of the companies with whom he was associated had any

legitimate business structure or purpose, and he had no documented expertise that

would provide the requisite skill or knowledge to amass his vast wealth.

      61.    Despite the rumors that Epstein had created to conceal his true

“business,” he was exposed as literally nothing other than an expert sex trafficker

and abuser of young females—a fact easily discernible by any responsible financial

institution with whom he was banking.

      62.    Epstein’s aptitude as a sex trafficker and appetite as a sexual abuser did

not suffer because of his Florida incarceration in 2008.

      63.    Even while he was in jail in Florida, he continued to sexually abuse

young girls and women while he was on “work release” to his office that he opened

under the name “Florida Science Center.”

      64.    Once out of jail and off work release, Epstein continued to collect

young women and lure them through force, fraud, or coercion into one of his

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mansions, primarily his townhouse located at 9 East 71st Street, New York, where

he would sexually abuse each one.

      65.   His sex-trafficking venture and conspiracy continued in the same

manner and mode as it had in the past, although it involved more phony companies,

more bank accounts, more withdrawals of large amounts of cash, and more delivery

of funds to victims and co-conspirators through wires, payroll, direct deposits, and

other means—means known to his financial institution as evidence of Epstein

continuing his criminal sex trafficking scheme.

      66.   As time went by, while Epstein sought to create cover as a well-

connected “money manager to billionaires,” the news articles and lawsuits continued

to mount expressing skepticism of the source(s) of his money and more confirming

information became publicly available that Epstein was abusing young women.

      67.   As a registered sex offender known to be sexually abusing multiple

young women each day through a pyramid-type recruiting scheme that required the

transfer of millions of dollars to continue the operation, a complicit bank was

essential, without which he could not sexually abuse in the way he did and his

organization could not operate.

      68.   From approximately 1998 through around August 2013, JP Morgan

was the bank complicit in seeing to it that Epstein could sexually abuse countless

young females and could operate his sex-trafficking venture and conspiracy.

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      69.    Epstein’s relationship with James “Jes” Staley was a key alliance that

enabled Epstein to run his illegal operation through JP Morgan.

      70.    Staley and JP Morgan built the financial infrastructure that allowed for

Epstein’s sex trafficking operation to become what it was. They had a business

relationship with Epstein when he was arrested, when he was required to register as

a sex offender, and even continued to enable and support his sex trafficking

operation after he was released from jail. As an employee and agent of JP Morgan,

Staley knew exactly what he was doing, and so did JP Morgan.

      71.    Staley left JP Morgan in 2013, and JP Morgan, knowing that Epstein

was a sex trafficker running a publicly known sex trafficking operation, with no

other legitimate business, began to create the perception of distancing itself from

Epstein.

      72.    In 2013, when Epstein was perhaps the most infamous sex offender in

the world, he was on the precipice of losing his accounts at JP Morgan—the bank

that had protected him and participated in his operation for nearly 15 years. He

immediately needed a financial institution that would partner with him to continue

the operation of his sex-trafficking venture. He found that partner in Deutsche Bank.

      73.    Deutsche Bank picked up exactly where JP Morgan left off and worked

quickly and diligently to figure out exactly what they needed to do (and not do) in

order to conceal Epstein’s illegal venture and conspiracy and ensure that it could

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continue to run without a hitch.

B. An Overview of Deutsche Bank’s Role in the Epstein Sex-Trafficking
   Venture.

      74.     Various banks and bankers were a critical part of Jeffrey Epstein’s

particular sex-trafficking venture. Due to the extensive publicity about Epstein’s

illegal sexual activities, in 2013 his longtime financial banking institution, JP

Morgan, had decided it would no longer serve as his banker.

      75.     By 2013, Epstein needed a new banking institution that would provide

the necessary appearance of legitimacy for his operation. This institution would

need to allow him to open many accounts for illegitimate companies, ignore blatant

red flags, permit him to transfer money without questioning, give him access to

abundant cash in direct violation of federal law, coach Epstein and his organization

leaders on how to avoid reporting or scrutiny, and to otherwise intentionally

participate in and facilitate the commercial aspect of his commercial sex-trafficking

enterprise.

      76.     From on or about August 19, 2013, through about 2018, Deutsche Bank

was the key bank participating, and playing an essential role in, the Epstein sex-

trafficking venture. Deutsche Bank continued to conceal what it had done through

about July 2020. Deutsche Bank developed a special—and illegal—banking

relationship with Epstein.

      77.     Deutsche Bank knowingly and intentionally participated in the Epstein
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sex-trafficking venture by, among other things, providing the financial

underpinnings for Epstein to have ready and reliable access to resources—including

cash—to recruit, lure, coerce, and entice young women and girls to be sexually

abused and to cause them to engage in commercial sex acts and other degradations.

      78.    Deutsche Bank assisted and participated in Epstein’s sex-trafficking

venture by knowingly enabling him to make payments to victims, including directly

or indirectly Jane Doe 1, and others similarly situated, and obtain large sums of cash

from his various accounts in violation of structuring laws in order to finance his well-

known, cash-driven, sex-trafficking venture.

      79.    Deutsche Bank participated in Epstein’s violations of the Trafficking

Victims Protection Act by knowingly facilitating, assisting, and enabling Epstein’s

illegal conduct.   Deutsche Bank’s conduct violated the TVPA, which forbids

benefiting financially by participating in a sex trafficking venture knowing, or in

reckless disregard of the fact, that means of force, threats of force, fraud, coercion,

abuse of process, and combination of those means have been used to cause young

women and girls to engage in commercial sex acts.

      80.    Deutsche Bank also conspired with Epstein (and others) to violate 18

U.S.C. § 1591. It knew that it was joining a sex-trafficking venture and conspiracy

that had been on-going for many years (at least since 2005). It adopted the goals of

the venture and conspiracy and took specific actions in this District and elsewhere

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in furtherance of it.

      81.    When considering whether to participate in the sex-trafficking venture,

and before on-boarding Epstein, Deutsche Bank estimated that it would earn

between $2,000,000 to $4,000,000 annually by funding the sex-trafficking venture

and handling the accounts of Epstein-related entities.

      82.    Ultimately, Deutsche Bank did financially benefit by earning millions

of dollars for its participation in the Epstein sex-trafficking venture.

      83.    Throughout its relationship with Epstein, Deutsche Bank violated

numerous regulations in order to continue its lucrative venture of facilitating the

Epstein sex trafficking scheme. These violations were intentional and for the sole

purpose of aiding and assisting Epstein in his sex trafficking venture and conspiracy.

      84.    Paul Morris, a former JP Morgan banker, brought Epstein over from JP

Morgan to Deutsche Bank in around August 2013. All knowledge acquired by JP

Morgan about Epstein’s sex-trafficking venture while Morris was at JP Morgan,

became known to Deutsche Bank. Morris knew that Epstein was continuing his on-

going sex-trafficking venture and conspiracy. Morris had a special relationship with

Epstein.

      85.    In addition to Morris’s knowledge and considering the known

reputation of Epstein as a sex-trafficker, when Deutsche Bank was on-boarding

Epstein, it had a responsibility to make all available inquiries to any other entity who

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had been associated with Epstein to learn if Epstein had retired from his illegal sex-

trafficking operation. Reasonable inquiries would have quickly revealed that he had

not. And, through Morris and other information, Deutsche Bank quickly learned that

he had not.

      86.     Financial institutions must conduct Know Your Customer (“KYC”)

reviews for each client relationship at intervals commensurate to the Anti-Money

Laundering (“AML”) risks posed by the client. These reviews included reviewing

account activity to determine whether such activity fits with what would have been

expected given the nature of the account. Each client’s AML risk should also be re-

assessed if new information or unexpected account activity is identified.

      87.     Financial institutions must also establish criteria for determining when

a client relationship poses too high of a risk and therefore must be terminated. A

financial institution may facilitate illegal activity—and be liable under applicable

laws—if it maintains such a relationship despite repeated indications of facilitation

of improper transactions.

      88.     Without Deutsche Bank’s participation and assistance, Epstein could

not have sexually abused or trafficked the hundreds of young women he did between

2013 and 2018.

      89.     Deutsche Bank knew that in order to onboard Epstein and his related

entities and maintain that relationship, it would have to intentionally circumvent

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banking rules and regulations and work with Epstein to aid in the operation of the

sex trafficking venture—and Deutsche Bank did exactly that.

      90.    On July 6, 2020, Deutsche Bank agreed to pay a fine of $150 million to

the New York State Department of Financial Services for, among other things, its

failures to meet banking regulations in connection with its relationship to Epstein.

Until that date, Deutsche Bank concealed who it had adopted the goals of the Epstein

sex trafficking venture and conspiracy and worked to further those goals.

            IV. THE TRAFFICKING VICTIMS PROTECTION ACT

      91.    The Trafficking Victims Protection Act (TVPA) forbids sex trafficking

activities that affect interstate or foreign commerce or take place within the territorial

jurisdiction of the United States. Courts must broadly construe the TVPA because

it serves a remedial purpose and uses intentionally broad language.

      92.    The TVPA forbids the following sex-trafficking conduct:

   (a) Whoever knowingly—

         (1) in or affecting interstate or foreign commerce, or within
             the special maritime and territorial jurisdiction of the
             United States recruits, entices, harbors, transports,
             provides, obtains, advertises, maintains, patronizes, or
             solicits by any means a person; or

         (2) benefits, financially or by receiving anything of value,
             from participation in a venture which has engaged in an
             act described in violation of paragraph (1),

      knowing, or, except where the act constituting the violation of
      paragraph is advertising, in reckless disregard of the fact, that means of
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      force, threats of force, fraud, coercion described in subsection (e)(2), or
      any combination of such means will be used to cause the person to
      engage in a commercial sex act, or that the person has not attained the
      age of 18 years and will be caused to engage in a commercial sex act,
      shall be punished as provided in subsection (b).

18 U.S.C. § 1591(a).

      93.    The TVPA also contains a conspiracy provision, which forbids

conspiring with a person to violate 18 U.S.C. § 1591.

      94.    The TVPA also contains an explicit “civil remedy” provision which

allows an individual who is a victim of a violation of Chapter 77 of Title 18 (e.g., 18

U.S.C. §§ 1591–95) to bring a civil action against the perpetrator and any person or

entity who knowingly benefits financially or by receiving anything of value from

participation in an illegal sex-trafficking venture. 18 U.S.C. § 1595(a).

      95.    Unlike the criminal penalties provisions in the TVPA, the civil

remedies provision contains a “constructive knowledge” provision. This provision

allows a civil action to be brought not only against a person or entity who

participated in a venture known to have engaged in illegal sex trafficking but also

against a person or entity who participated in a venture that the person or entity

should have known had engaged in illegal sex trafficking. 18 U.S.C. § 1595(a). This

expansive provision is known as the “constructive knowledge” provision, which

provides an alternative to proving actual knowledge as part of civil damages claim.

      96.    In this complaint, Jane Doe 1 and other members of the Class allege


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that Deutsche Bank acted outrageously and intentionally. But additionally, in the

paragraphs that follow, wherever Jane Doe 1 and the other members of the Class

allege that Defendants acted with actual knowledge, or in reckless disregard of the

fact, that the Epstein sex-trafficking venture used means of force, threats of force,

fraud, coercion, abuse of process, or some combination thereof to cause a person to

engage in commercial sex acts, Jane Doe 1 and other members of the Class also

allege that, at a bare minimum, Defendants should have known that the Epstein sex-

trafficking venture had used such means to engage in illegal sex trafficking in

violation of 18 U.S.C. §§ 1591-94—i.e., that they had constructive knowledge of

Epstein’s sex trafficking.

      97.    In this complaint, Jane Doe 1 and other members of the Class also

allege that Deutsche Bank was willfully blind to the fact that was facilitating and

participating in Epstein’s sex-trafficking venture.

                   V. THE RACKETEER INFLUENCED AND
                      CORRUPT ORGANIZATIONS ACT

      98.    The Racketeer Influenced and Corrupt Organizations Act (RICO)

forbids racketeering activities that affect interstate or foreign commerce or take place

within the territorial jurisdiction of the United States.

      99.    As with the TVPA, courts must broadly construe RICO because it

serves a remedial purpose and uses intentionally broad language. The Act provides

that “[t]he provisions of this title shall be liberally construed to effectuate its
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remedial purposes.” Pub.L. No. 91–452, § 904(a), 84 Stat. 922, 947 (1970).

      100. RICO forbids the following racketeering activities:

      It shall be unlawful for any person who has received any income
      derived, directly or indirectly, from a pattern of racketeering activity or
      through collection of an unlawful debt in which such person has
      participated as a principal within the meaning of section 2, title 18,
      United States Code, to use or invest, directly or indirectly, any part of
      such income, or the proceeds of such income, in acquisition of any
      interest in, or the establishment or operation of, any enterprise which is
      engaged in, or the activities of which affect, interstate or foreign
      commerce. A purchase of securities on the open market for purposes of
      investment, and without the intention of controlling or participating in
      the control of the issuer, or of assisting another to do so, shall not be
      unlawful under this subsection if the securities of the issuer held by the
      purchaser, the members of his immediate family, and his or their
      accomplices in any pattern or racketeering activity or the collection of
      an unlawful debt after such purchase do not amount in the aggregate to
      one percent of the outstanding securities of any one class, and do not
      confer, either in law or in fact, the power to elect one or more directors
      of the issuer.

18 U.S.C. § 1962(a).

      101. RICO also contains provision making it illegal for any person to

conspire with others to violate any of RICO’s prohibitions. 18 U.S.C. § 1962(d).

      102. RICO also contains an explicit “civil remedy” provision which allows

an individual who is injured in his business or property by virtue of a violation of 18

U.S.C. § 1962 to sue to recover threefold the damages sustained. 18 U.S.C. §

1964(c).

      103. In the paragraphs that follow, Jane Doe 1 and other members of the

Class allege that Deutsche Bank violated 18 U.S.C. § 1962 and injured them in
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various ways, including injury to their businesses and property.

                        VI. FACTUAL ALLEGATIONS

      A. The Epstein Sex-Trafficking Venture and Conspiracy.

      104. During all times relevant to this complaint, Jeffrey Epstein was an

extraordinarily wealthy man with multiple residences in the United States, including

a New York City mansion, a New Mexico Ranch, an apartment in Paris, France, a

Palm Beach mansion, and an island in the U.S. Virgin Islands.

      105. Beginning in about 1998 (and perhaps earlier) and continuing through

the summer of 2019, Epstein knowingly established and ran a sex-trafficking venture

and conspiracy in violation of 18 U.S.C. §§ 1591–95. As part of the venture and

conspiracy, Epstein used means of force, threats of force, fraud, coercion, abuse of

legal process, and a combination of these means to cause young women and girls

from all over the world to engage in commercial sex acts and to sexually abuse them.

      106. In creating and maintaining this network of victims in multiple states

and in other countries to sexually abuse and exploit, Epstein worked and conspired

with others, including employees and associates who facilitated his conduct by,

among other things, recruiting victims, coercing victims, paying victims, and

scheduling their sexual abuse by Epstein at each of his residences, most

predominantly in New York.

      107. In this District and elsewhere, Epstein perpetuated this abuse in similar

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ways. Epstein and his co-conspirators lured new victims into his home for seemingly

innocuous activity. Victims were initially recruited to speak with an alleged

philanthropic Epstein and provide “massages” to him. Once at Epstein’s home and

trapped in his bedroom, the victims were instructed to remove their clothing. Epstein

would then force the massages to become increasingly sexual in nature, typically

including one or more sex acts. Epstein would use means of force, threats of force,

or fraud to coerce the victims to participate in these sex acts and to cause them to

return and continue to engage in commercial sex acts with him. Epstein and his

associates then paid his victims hundreds of dollars in cash for each sexual encounter

and for maintaining silence about the encounter.

      108. Moreover, Epstein actively encouraged and coerced his victims to

recruit additional girls to be similarly sexually abused. Epstein incentivized his

victims to become recruiters by paying these victim-recruiters hundreds of dollars

for each girl that they brought to Epstein. In so doing, Epstein, through this system

of paying victims to recruit others whom he would also pay for being sexually

abused as well as for recruiting, created a sex-trafficking spider web and maintained

a steady supply of new victims to exploit.

      109. Epstein was skilled at ascertaining his victim’s greatest fears and

aspirations and targeted those fears and aspirations to coerce and trap his victims

into performing commercial sex acts and to be subject to sexual abuse.

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      110. Among other things, Epstein caused and coerced his victims to engage

in commercial sex acts, specifically sex acts for which his victims received things of

value, such as cash, promises of educational and career advancement, and promises

that Epstein would provide various forms of assistance.

      111. Among other things, Epstein provided things of value to his victims in

order to cause and coerce them to engage sex acts with him and on occasion his

friends, co-conspirators, or other victims.

      112. As one means of causing and coercing victims to engage in commercial

sex acts, Epstein and his co-conspirators threatened that harm would come to victims

if they did not comply with his demands that they perform commercial sex acts.

      113. As another means of causing and coercing victims to engage in

commercial sex acts, Epstein and his co-conspirators fraudulently promised to

further victims’ educational or career aspirations if they would comply with his

sexual demands. These promises were a quid pro quo for the sex acts that occurred.

      114. Epstein and his co-conspirators falsely promised Jane Doe 1 and other

Class Members various employment and professional opportunities, which

prevented them from pursuing other employment opportunities. These false

promises were part of the Enterprise’s operation, because they forced and caused

Epstein’s victims to participate in commercial sex acts. Forcing sex-trafficking

victims into a position of economic dependency on their traffickers is a well-known

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means of coercion, which Epstein used against Jane Doe 1 and the Class Members.

      115. As one means of causing and coercing victims to engage in commercial

sex acts, Epstein and his co-conspirators would “gift” his victims money and provide

them with living accommodations, clothing, education, or other necessities. Epstein

and his co-conspirators would then force them to pay off the “debt” by complying

with Epstein’s sexual demands.

      116. In addition to coercing commercial sex acts from his victims, Epstein

also committed intentional torts and sexual offenses against them as defined in New

York Penal Law § 130, as described in greater detail below.

      117. From around 1998 through about July 2019, Epstein’s sex-trafficking

venture recruited, solicited, enticed, harbored, obtained, provided, and transported

hundreds of victims to cause them to engage in commercial sex acts with Epstein

and Epstein’s friends. Epstein was reliant on banking institutions to help make the

racketeering activity successful.

      118. Epstein recruited, solicited, enticed, harbored, obtained, provided, and

transported his victims to cause them to engage in commercial sex acts in ways that

were in and affecting interstate and foreign commerce, including using means of

interstate communications (such as cell phones) and means of interstate and foreign

travel (such as aircraft that he owned and controlled).

      119. Epstein transported his victims in interstate and foreign commerce,

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including transportation to and from his New York mansion in this District.

      120. The Epstein sex-trafficking venture transported victims across state

boundaries between New York, Florida, New Mexico, New Jersey, Massachusetts,

the U.S. Virgin Islands, and elsewhere, and in foreign commerce to places abroad,

especially Eastern Europe.

      121. At all times relevant to this complaint, the Epstein sex-trafficking

venture was a group of two or more individuals associated in fact, even if they were

not a formal legal entity. Indeed, members of the Epstein sex-trafficking venture

referred to it as “The Organization.” Epstein was continuously at the hub of The

Organization, which operated continuous throughout the times indicated in this

complaint.

      122. On July 2, 2019, the United States Attorney’s Office for the Southern

District of New York filed a sealed, two-count Indictment against Epstein, including

one count of sex-trafficking conspiracy and one count of sex trafficking for

violations of 18 U.S.C. § 1591, in part due to Epstein’s criminal activities in his New

York Mansion located at 9 East 71st Street. See United States v. Jeffrey Epstein,

Case No. 1:19-cr-00490 (S.D.N.Y.).

      123. On July 8, 2019, Epstein was arrested pursuant to the Southern District

of New York Indictment.

      124. On August 10, 2019, prison guards found Epstein unresponsive in his

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Metropolitan Correctional Center jail cell, where he was awaiting trial on the federal

sex trafficking charges. He was later pronounced dead from apparent suicide.

      125. In July 2020, Epstein’s co-conspirator in the origin of the sex-

trafficking venture, Ghislaine Maxwell, was arrested on federal sex trafficking

charges filed in this Court. The charges alleged that she had assisted, facilitated, and

contributed to Epstein’s abuse of sex trafficking victims, helping Epstein to recruit,

groom, and ultimately abuse his victims. See United States v. Maxwell, Case No.

1:20-cr-00330 (S.D.N.Y.).

      126. On December 29, 2021, Maxwell was found guilty in this Court on five

federal sex-trafficking counts in this Court.

      B. Consistent With Jeffrey Epstein’s Uniform Pattern and Practice, Jane
         Doe 1 Was Assaulted Within the Definition of New York Penal Law
         Section 130 and Forced to Engage in Commercial Sex Acts With
         Epstein by Means of Force, Fraud, and Coercion.

      127. In about 2003, Jane Doe 1 moved to New York City where she was

introduced to and sexually abused by Jeffrey Epstein.

      128. From about 2003 until the time that Jane Doe 1 escaped, Epstein

committed numerous intentional torts and acts against Jane Doe 1 on a regular and

frequent basis, which constitute sexual offenses as defined in New York Penal Law

§ 130, including but not limited to the following:

          a. Sexual misconduct as defined in §130.20, as Epstein engaged in sexual

             intercourse with Jane Doe without her consent;
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         b. Rape in the first degree as defined in §130.35, as Epstein engaged in

            sexual intercourse with Jane Doe by forcible compulsion;

         c. Criminal sexual act in the first degree as defined in §130.50, as Epstein

            engaged in oral sexual conduct with Jane Doe by forcible compulsion;

         d. Forcible touching as defined in §130.52, as Epstein, intentionally and

            for no legitimate purpose, forcibly sexual touched Jane Doe for the

            purpose of degrading or abusing her or for the purpose of gratifying his

            own sexual desire;

         e. Sexual abuse in the third degree as defined in §130.66, as Epstein

            inserted a foreign object in the vagina of Jane Doe by forcible

            compulsion;

         f. Aggravated sexual abuse in the first degree as defined in §130.70, as

            Epstein inserted a foreign object in Jane Doe’s vagina causing physical

            injury, by forcible compulsion.

      129. Epstein and his co-conspirators had a long history of grooming,

indoctrinating, controlling, and ultimately committing sexual offenses against

young, vulnerable women like Jane Doe 1. Epstein and his co-conspirators

constantly reminded Jane Doe 1 how powerful and important Epstein was.

      130. The well-oiled Epstein sex-abuse and sex-trafficking venture and

conspiracy included frequent statements to Jane Doe 1, and other victims, by Epstein

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and his co-conspirators that: (1) Epstein possessed extraordinary wealth, power and

influence; (2) Epstein’s business and political friends, including world leaders,

included some of the most powerful people in the world; (3) Epstein had the ability

to advance or destroy nearly anyone financially, reputationally, and otherwise; (4)

medical and normal life necessities would be denied victims if they, including Jane

Doe 1, did not allow Epstein to sexually abuse them and failed to perform

commercial sex acts for Epstein; and (5) Epstein could take away Jane Doe 1’s and

other victims’ life needs such as shelter or housing if they failed to allow sexual

abuse or to perform those acts.

      131. As with his other chosen victims, Jane Doe 1 was vulnerable to being

victimized by Epstein and was sexually abused by Epstein at his sole direction

almost every day she was in his presence, as was customary practice for

Epstein. Jane Doe 1 was soon forced to remain in contact with Epstein, was unable

to extricate herself, and had no real choice but to comply with Epstein’s every

command or risk suffering serious harm.

      132. Jane Doe 1 was sexually abused and trafficked by Epstein for numerous

years and was not able to escape from Epstein until about 2018. Having been

conditioned that the sexual abuse was “normal” and knowing that everyone

surrounding Epstein, including accountants, lawyers, bankers, and other important

people, were aware of the sex abuse, Jane Doe 1 was coerced into a cult-like life

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controlled by Epstein and others to be sexually abused and sexually trafficked.

      133. From about 2003 through about 2018, Epstein sexually abused Jane

Doe 1 in this District.

      134. Epstein used means of force, threats of force, fraud, coercion, abuse of

process, and a combination of such means to sexually abuse Jane Doe 1 and to cause

her to engage in commercial sex acts.

      135. Epstein recruited Jane Doe 1 to, among other things, cause her to

engage in commercial sex acts in ways that were in and affecting interstate and

foreign commerce, including through use of cell phones and means of interstate

transportation such as aircraft that he owned or controlled.

      136. Epstein transported Jane Doe 1 from New York to other states to

sexually abuse her and to cause her to engage in commercial sex acts.

      137. As the years of abuse continued, Jane Doe 1 wanted to escape from the

Epstein organization, yet Epstein and his supporting team of co-conspirators

increased the tactics of fraud, force, and coercion to cause her to remain compliant

in allowing Epstein to sexually abuse and traffic her, making it clear she would suffer

serious harm if she were to try to leave the organization.

      138. Epstein threatened Jane Doe 1 that she would lose contact with people

in her social circle who were connected with Epstein if she failed to comply with his

demands.

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      139. Epstein would alternate between usually false promises and threats to

secure Jane Doe 1’s compliance with his demands, including demands that she

engage in commercial sex acts with him and others. In some instances, Epstein

would pay Jane Doe 1 directly in cash for sex acts and in other instances she was

provided other things of value such as medical care, housing, transportation,

schooling, and job opportunity.

      140. From 2003, when Doe was first introduced to Epstein, and through her

eventual separation from Epstein and his organization 15 years later, Epstein and his

co-conspirators used extreme measures of force, fraud and coercion to cause Jane

Doe 1 to engage in commercial sex and to remain obedient to the organization.

      141. Epstein introduced Jane Doe 1 to powerful individuals, made clear he

could destroy anyone who disobeyed him, including Jane Doe 1.

      142. Even when Epstein was in Florida jail, Doe 1 was required to be in

Florida for the hours during the day when Epstein was on work release.

      143. Doe 1 never had a say in anything, including sex, and had to be

compliant to Epstein’s every wish and was trained that she had to express gratitude

and appear appreciative for Epstein and all he could do for her, knowing that he

would cause her serious harm if she did not comply.

      144. Epstein controlled where Doe 1 lived, and he housed her at his victim

stash houses that he owned at 310 East 66 Street, NY, NY.

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      145. When Epstein demanded Doe 1 be on flights to anywhere in the world

at a moments notice, she had to be there, and co-conspirators for Epstein passed out

schedules for Doe 1 so she knew where she had to be and when.

      146. When Epstein was in civil or criminal trouble, Epstein provided gifts or

promises of gifts or promises of employment or schooling to prevent Doe 1 from

turning on Epstein.

      147. Epstein forced Doe 1 into relationships that would be advantageous to

Epstein, and Doe 1 was given no choice but to comply.

      148. Epstein forced Doe 1 to be at his beckon call to participate in whatever

sexual encounter he commanded at the time, wherever he commanded, with whoever

he commanded.

      149.   Epstein’s sexual abuse of exploitation of Plaintiff grew more painful

as Jane Doe 1 aged, yet Doe 1 was explicitly told she could not leave the Epstein

organization’s grasp without the risk of suffering serious harm.

      150. As late as 2017 and 2018, Epstein continued to demand sexual

compliance from Doe 1 and Doe 1 continued to ask out of the organization

peacefully. However, as was Epstein’s known coercive style, Epstein and co-

conspirators of his made it clear she would suffer serious harm if she would try to

separate from the Epstein organization, and that if she did separate it would need to

be on terms outlines by the organization.

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      151. Certain coercive tactics employed by Epstein and his co-conspirators

included forced relationships directed by Epstein, legal entanglements with Epstein

related entities, the threat that Doe 1 would go bankrupt in legal processes if she left,

threats that the organization would protect her if she remained compliant, yet she

would suffer if she did not.

      152. Once Doe 1 was lured in, Epstein’s coercive tactics increased over time

to ensure that Jane Doe 1 could never escape.

      153. Epstein and his co-conspirators continued to coerce Jane Doe 1 into

commercial sex in various ways until her ultimate escape from Epstein and his

organization in about 2018.

      C. Deutsche Bank’s Participation in Epstein’s Sex-Trafficking Venture

      1. Overview of Deutsche Bank’s participation in the venture.

      154. From on or about August 19, 2013, through about July 2020, Deutsche

Bank knowingly and intentionally participated in the Epstein sex-trafficking venture,

conspiracy, and racketeering activity by (among other things) providing the financial

underpinnings for the venture. Deutsche Bank’s conduct, as described below, was

outrageous and intentional. After Deutsche Bank joined the venture and conspiracy,

it became aware that Epstein venture and conspiracy had been on-going for many

years and it adopted the goals and ratified the venture’s and conspiracy’s earlier

actions, racketeering conduct, and crimes.

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      155. Deutsche Bank enabled Epstein to have ready and reliable access to

resources—including cash—to recruit, solicit, entice, harbor, obtain, provide, and

transport young women and girls (including Jane Doe 1) to cause them to engage in

commercial sex acts.

      156. Deutsche Bank participated in Epstein’s violations of the TVPA by

knowingly assisting, supporting, facilitating, and enabling Epstein’s illegal sexual

abuse and sex-trafficking venture, including in particular his coercive sex trafficking

in violation of 18 U.S.C. § 1591(a)(1).

      157. Deutsche Bank’s conduct knowingly and intentionally violated the

TVPA, which forbids benefitting financially from participating in a venture that, in

or affecting interstate or foreign commerce, has recruited, solicited, enticed,

transported, harbored, provided, or obtained a person knowing, or in reckless

disregard of the fact, that the person has been caused to engage in a commercial sex

act by means of force, threats of force, fraud, coercion, abuse of process, or a

combination of such means.

      158. Deutsche Bank’s actions knowingly and intentionally furthered the

Epstein sex-trafficking venture, including specifically Epstein’s sex trafficking. For

example, Deutsche Bank provided cash to Epstein knowing that he would use the

cash to pay for commercial sex acts—including sexualized massages during which

Epstein penetrated Jane Doe 1—forcing all Jane Does to engage in sexual activity.

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Deutsche Bank also provided funds through wire transfers and by mail.

      159. Deutsche Bank also aided and abetted Epstein’s sex-trafficking venture

by, among other things, providing the financial underpinnings for the venture.

      160. Deutsche Bank also conspired with Epstein and others to violate 18

U.S.C. § 1591, by, among other things, adopting the purpose of providing victims

for Epstein to sexually abuse.

      161. Deutsche Bank enabled Epstein to have ready and reliable access to

resources—including cash and a variety of bank accounts and other financial tools—

to recruit, entice, solicit, harbor, provide, obtain, and transport young women and

girls to sexually abuse them and to cause them to engage in commercial sex acts.

      162. Deutsche Bank knowingly and intentionally benefited financially and

in other ways from its participation in Epstein’s sex-trafficking venture with

knowledge, or with reckless disregard to the fact, that Epstein used means of force,

threats of force, fraud, and coercion (and combinations thereof) to force young

women and girls to be sexually abused and to engage in commercial sex acts.

      163. When considering whether to participate in the sex-trafficking venture,

Deutsche Bank estimated that it would earn between $2,000,000 to $4,000,000

annually from serving as Epstein’s banker.       Deutsche Bank knew that being

Epstein’s banker required joining in the purposes of the sex-trafficking venture and

funding the venture.

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      164. As recounted more fully in the paragraphs that follow, Deutsche Bank

did financially benefit by earning millions of dollars from its participation in the

Epstein-sex-trafficking venture. The benefits that Deutsche Bank received came

directly from its participation in the sex-trafficking venture and because of its

participation in that venture. In other words, there was a causal relationship between

Deutsche Bank’s conduct furthering Epstein’s sex-trafficking venture and its receipt

of the financial benefits with actual (and constructive) knowledge of that causal

relationship.

      165. Deutsche Bank knowingly and intentionally financed Epstein’s illegal

sex-trafficking venture. Deutsche Bank knew that if it did not finance Epstein’s

illegal sex-trafficking venture, then it would lose valuable Epstein-related accounts.

Faced with the choice between profiting from Epstein’s sex-trafficking venture or

following the law, Deutsche Bank intentionally chose to profit.

      166. In violation of various banking laws and regulations, including various

“Know Your Customer” and anti-money laundering laws, Deutsche Bank regularly

authorized cash withdrawals and deposits for the Epstein sex-trafficking venture, as

well as wire transfers, which allowed Epstein, his co-conspirators, and those they

directed to conduct the business of the sex-trafficking venture.

      167. Deutsche Bank’s knowing and intentional banking law violations

allowed Epstein and his various corporations to stay “under the radar” and continue

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the sex trafficking operation without close scrutiny or interference.

        168. By facilitating and financing Epstein’s sexual abuse and commercial

sex acts in interstate and foreign commerce, Deutsche Bank earned interest,

commissions, fees, and other financial benefits directly from its connection with

Epstein, Epstein-related entities, and others acting in concert with Epstein. Epstein

provided those financial benefits to Deutsche Bank precisely because it was

facilitating his sex-trafficking venture—and Deutsche Bank knew that was the

reason that Epstein was providing them with those financial benefits.

        169. Deutsche Bank knowingly and intentionally benefited financially from

Epstein’s sexual abuse and sex-trafficking venture by obtaining customer accounts.

Epstein and his co-conspirators even forced Jane Doe 1 to open an account at

Deutsche Bank, which financially benefited Deutsche Bank and simultaneously

created greater connection between Jane Doe 1 and the Epstein organization, making

escape more difficult.

        170. Deutsche Bank knowingly and intentionally benefited financially from

Epstein’s sexual abuse and sex-trafficking venture by profiting from the funds that

Epstein, his co-conspirators, and his wealthy associates deposited with Deutsche

Bank.

        171. For example, Deutsche Bank profited financially from funds deposited

by or controlled by (among other Epstein-related entities): (1) Southern Trust

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Company, Inc., (2) Southern Financial LLC, (3) The Butterfly Trust, (4) Global

Markets Account, and (5) Gratitude America.

      172. Deutsche Bank benefited by receiving things of value from its

participation in Epstein’s sexual abuse and the Epstein sex-trafficking venture.

Among the various things of value it received were: (1) connections with Epstein,

his co-conspirators, and his wealthy friends and associates; (2) additional deposits

from Epstein, his co-conspirators, and his wealthy friends and associates; (3) the

ability to charge above-normal fees to Epstein because he was a “high risk, high

reward” customer; and (4) the opportunity to earn financial benefits from the funds

that had been deposited with it. Deutsche Bank knowingly received these things of

value as a direct result of its participation in the Epstein sex-trafficking venture,

which included actively concealing the illegality of it in order to keep the trafficking

organization in business.

      173. Among the women and girls whose sex trafficking and sex abuse

Deutsche Bank furthered were Jane Doe 1 and the Class Members, as each would

not have been abused by this scheme but for Deutsche Bank’s knowing venture with

Epstein to provide the financial infrastructure to the sex-trafficking criminal

enterprise.

      174.    On July 20, 2020, the New York State Department of Financial Service

(hereinafter “New York Banking Regulators”) and Deutsche Bank agreed to a

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Consent Order, which resolved the Department’s investigation into Deutsche Bank’s

relationship with Epstein and Epstein-related entities. Deutsche Bank agreed to pay

a penalty of $150 million to resolve the investigation regarding Epstein and two

other customers.

      175. The New York Banking Regulators found, accurately, that Deutsche

Bank conducted business regarding Epstein in an unsafe and unsound manner, in

violation of New York Banking Law § 44.

      176. The New York Banking Regulators found, accurately, that Deutsche

Bank failed to maintain an effective and compliant anti-money laundering program,

in violation of 3 NYCRR § 116.2.

      177. While this complaint refers to facts found by the New York Banking

Regulators, the allegations made in this complaint extend beyond those facts. In

particular, the regulators did not address issues surrounding Deutsche Bank’s

criminal liability for participating in Epstein’s sex trafficking venture.        This

complaint sweeps more broadly and accurately alleges that Deutsche Bank engaged

in intentional criminal behavior in participating in Epstein’s sex-trafficking venture.

      2. Banking Regulations Exist to Help Prevent Funding of Criminal
         Ventures.

      178. The Federal Bank Secrecy Act (“BSA”) requires financial institutions

to have adequate anti-money laundering (“AML”) policies and systems in place.

New York state law requires financial institutions to devise and implement systems
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reasonably designed to identify and report suspicious activity and block transactions

prohibited by law.

       179. All regulated institutions are expected to configure systems based on

their unique risk factors, incorporating parameters such as institution size, presence

in high-risk jurisdictions, and the specific lines of business involved, and the

institutions have an affirmative duty to ensure that their systems run effectively.

       180. In addition to having effective AML controls in place, it is also

necessary for financial institutions to monitor their customers for the purpose of

preventing their customers from facilitating criminal activity using the institutions’

facilities.

       181. As part of preventing criminal activity, Know Your Customer (“KYC”)

and customer due diligence are critically important, and financial institutions must

collect customer information at the time of establishing new relationships with

clients, including as necessary to assess the risks associated with the client. To

properly consider these risks, financial institutions must consider relevant factors

such as the nature of the client’s business, the purpose of the client’s accounts, and

the nature and duration of the relationship.

       182. Financial institutions must also conduct KYC reviews for each client

relationship at intervals commensurate to the AML risks posed by the client,

including reviewing account activity to determine whether such activity fits with

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what would have been expected given the nature of the account. Each client’s AML

risk should also be re-assessed if material new information or unexpected account

activity is identified.

       183. Financial institutions must also file reports with federal authorities of

suspicious activities by their customers, including suspicious cash activities, known

as Suspicious Activity Reports (“SARs”).

       184. Financial institutions must also establish criteria for determining when

a client relationship poses too high of a risk and therefore must be terminated. A

financial institution may facilitate illegal activity—and be liable under applicable

laws—if it maintains such a relationship despite repeated indications of facilitation

of improper transactions.

       3. Deutsche Bank’s Knowledge about the Epstein Venture.

       185. The New York Banking Regulators determined, accurately, that

Deutsche Bank failed in various respects to meet its Know Your Customer and other

obligations fully with respect to its relationship with Jeffrey Epstein and entities

related to Epstein. The motive for those failures was simple: the bank was making

millions of dollars for its knowing participation in and concealment of Epstein’s

criminal organization.

       186. In around 2013, Deutsche Bank was aware that Epstein was a wealthy

man with hundreds of millions of dollars in assets and an extensive network of

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friends and connections that included prominent financial institutions, politicians,

royalty, and billionaires.

      187. In around 2013, Deutsche Bank was aware that Epstein also had a well-

publicized reputation related to the sexual trafficking and sexual abuse of young

women.

      188. Allegations against Epstein began appearing in the press as early as

2005, with the accusation that he paid a 14-year-old girl for a “massage.”

      189. That year, the Palm Beach Police Department in Florida began an

investigation into allegations against Epstein related to his sexual abuse in Palm

Beach. The investigation quickly uncovered dozens of other Epstein sex-abuse

victims. The investigation also identified the Epstein sex-trafficking venture, which

included a number of individuals who were responsible for recruiting young women

to come to Epstein’s Palm Beach mansion to give “massages” or otherwise

furthering his abuse.

      190. In 2006, the Palm Beach State Attorney handling the case referred the

matter to the Federal Bureau of Investigation, which subsequently opened its own

investigation and interviewed potential witnesses and victims.

      191. In September 2007, Epstein agreed to plead guilty to two felony sex

offenses in Florida state court, in exchange for a federal Non-Prosecution Agreement

(“NPA”) providing him and his co-conspirators (including Lesley Groff, Sarah

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Kellen, Adriana Ross, and Nadia Marcinkova) with immunity from federal

prosecution for extensive federal sex-trafficking charges in Florida. The deal

included incarceration and for Epstein to register as a “Sex Offender.”

      192. In the summer of 2008, Epstein’s NPA with the U.S. Department of

Justice was made public when it was unsealed in connection with a challenge

brought to the NPA by two of his victims. The agreement, among other things,

outlined charges that could have resulted from the investigation, including that

Epstein conspired to use a facility or means of interstate commerce to induce minors

to engage in prostitution, to engage in illicit sexual conduct with minors, conspiring

with others to do the same, and trafficking minors. That agreement also noted that

the United States had compiled “a list of individuals whom it [had] identified as

victims,” and that Epstein would pay for legal representation for these alleged

victims.

      193. Court proceedings involving the challenge to Epstein’s NPA continued

between 2008 and 2013 (and beyond) and attracted extensive media attention.

      194. Indeed, between around 2006 and 2013, press reports outlined the

allegations underlying the NPA and to varying degrees detailed the involvement of

Epstein’s alleged co-conspirators, including Lesley Groff, Sarah Kellen, and Nadia

Marcinkova.

      195. The names of these women and other alleged co-conspirators were

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publicly known by 2013.

        196. Additionally, press reports during this time noted allegations that

Epstein was involved with Eastern European women in particular and that a

modeling agency he helped fund along with a known sexual abuser Jean Luc Brunel

brought “young girls . . . often from Eastern Europe” to the U.S. on Epstein’s private

jets.

        197. By the time Deutsche Bank onboarded Epstein and during the

relationship between the bank and Epstein and his many related entities, hundreds

of pages of police reports, countless news articles, dozens of public civil lawsuits

and corresponding settlements, Epstein’s sexual offender registration, numerous

depositions, and other overwhelming evidence of Epstein’s sexual abuse was public

and known to Deutsche Bank.

        198.   Deutsche Bank was aware of the foregoing information and more about

Epstein’s sex abuse and sex trafficking activities by around 2013, and also of the

fact that JP Morgan was terminating its relationship with Epstein when it considered

whether to begin a banking relationship with Epstein.

        199. Deutsche Bank took in Epstein as a client because it knew this was an

opportunity to take in a wealthy criminal that no other bank would take and make

significant profits providing the infrastructure Epstein’s sex trafficking operation

desperately needed to continue.

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      4. Deutsche Bank Agrees to Become Epstein’s Banker in 2013.

      200. In 2013, Epstein, who had been banking with one of Deutsche Bank’s

competitors, JP Morgan, began the process of moving his assets to Deutsche Bank.

      201. The relationship between Deutsche Bank and Epstein came about

through a Deutsche Bank relationship manager, Paul Morris, who had left JP Morgan

bank (“JP Morgan”) to join the Bank’s private wealth department. At JP Morgan,

Morris had been a member of the team servicing Epstein’s accounts and he was

aware of JP Morgan’s role of facilitating Epstein’s sex-trafficking venture and

conspiracy.

      202. Paul Morris joined Deutsche Bank in November 2012, bringing with

him the knowledge he had acquired at JP Morgan about Epstein’s sex-trafficking

venture and conspiracy. Soon after joining Deutsche Bank, Morris suggested to

senior management that Epstein was a potential client who could generate millions

of dollars of revenue as well as leads for other lucrative clients to Deutsche Bank.

Morris and Epstein began discussions in the spring of 2013 about a potential

relationship between Deutsche Bank and Epstein.

      203. In April of 2013, in preparation for establishing Deutsche Bank’s

relationship with Epstein, a junior relationship coordinator on the Epstein account

(herein, “Relationship Coordinator-1”) prepared a memorandum for Paul Morris to

send to Deutsche Bank’s then co-head of the Wealth Management Americas Group,

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Charles Packard, and Patrick Harris, the Chief Operating Officer of Wealth

Management Americas.

      204. Among other things, the memorandum contained information

concerning Epstein’s previous plea deal and prison sentence for sex-trafficking

related crimes. In particular, the memorandum stated that “Epstein was charged with

soliciting an underage prostitution [sic] in 2007,” that “[h]e served 13 months out of

his 18-month sentence,” and that “[h]e was accused of paying young woman [sic]

for massages in his Florida home.” It also highlighted that Epstein was involved in

17 out-of-court civil sex abuse settlements related to his 2007 conviction.

      205. In the email to Charles Packard and Patrick Harris attaching the

memorandum, Paul Morris noted how lucrative becoming Epstein’s banker could

be, stating “[e]stimated flows of $100-300 [million] overtime [sic] (possibly more)

w/ revenue of $2-4 million annually over time.” In the same email, Morris proposed

that all Epstein-related accounts be for “entities” affiliated with Epstein, “not

personal accounts.”

      206. On May 5, 2013, Charles Packard sent an email (hereinafter, the

“Approval Email”) to Morris, which read “spoke with [the Head of AML

Compliance for Deutsche Bank Americas and the then-General Counsel for

Deutsche Bank Americas, who at that time served as chair of the Bank’s Americas

Reputational Risk Committee (“ARRC”)].           Neither suggest [that the Epstein

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relationship] requires rep risk and we can move ahead so long as nothing further is

identified through KYC and AML client adoptions.” The ARRC did not meet in

connection with the initial onboarding of Epstein.

      207. “Rep risk” as referenced in the Approval Email referred to a review by

the relevant regional reputational risk committee. Deutsche Bank’s policies and

procedures provided that, should a Deutsche Bank business or compliance unit

identify a client that they believe could pose a reputational risk to the Bank, it must

escalate that client for review by the attendant reputational risk committee. In the

case of the onboarding of the Epstein relationship, this was the ARRC.

      208. At the time, Deutsche Bank was aggressively expanding its U.S. wealth

management business under its new co-chief executive, Anshu Jain, and was

courting wealthy clients shunned by other banks.          Indeed, attractive earnings

multiples had driven strong investment from Deutsche Bank into asset and wealth

management, as they consumed less capital than the investment banking business.

Deutsche Bank officials have repeatedly called the Bank’s private banking wealth

management business in the Americas as a “key geographic region.” Karimi et al.

v. Deutsche Bank Aktiengesellschaft et al., Case No. 2:20-cv-08978-ES-JRA (case

later transferred to this Court, Case No. 1:22-cv-02854-JSR) (“Karimi”), Second

Amended Complaint (Dkt. 37) at ¶ 84 (D.N.J. Mar. 1, 2021).

      209. According to confidential witnesses in another case before this Court,

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no formal KYC investigation was ever ultimately undertaken for Epstein. See

Karimi, Opinion and Order (Dkt. 86) at 9 (S.D.N.Y. June 13, 2022). Deutsche Bank

intentionally avoided conducting such an investigation because it knew what the

investigation would reveal, and that it would not be able to serve Epstein after such

an investigation based on his well-documented and publicized history of sex

trafficking.

      210. The relationship between Deutsche Bank and Epstein officially began

on August 19, 2013, when the Bank opened brokerage accounts for Southern Trust

Company Inc., a self-described “database company and services” founded in the

U.S. Virgin Islands in 2011, and Southern Financial LLC, a wholly owned subsidiary

of Southern Trust Company Inc. According to the KYC record, the purposes of the

brokerage accounts were to “hold marketable securities and cash” and “to invest

long term [sic] with the bank,” respectively. Over the course of the relationship,

Epstein, his related entities, and associates would eventually open and fund more

than 40 accounts at Deutsche Bank, with more than $110 million in just one of the

accounts. See Karimi, Dkt. 37 at ¶ 96.

      5. Epstein Uses Deutsche Bank Accounts for the Sex-Trafficking
         Venture.

      211. From the time of Epstein’s onboarding, the relationship was classified

by Deutsche Bank as “high-risk” and therefore subject to enhanced due diligence

requirements. Although the Bank did not initially classify Epstein as a politically
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exposed person (“PEP”), the Bank did designate him an “Honorary PEP” because of

his connections to prominent political figures. The high-risk classification and

informal designation as an Honorary PEP should have resulted in enhanced

transaction monitoring of activity within Epstein’s accounts. However, and as

discussed below, this required monitoring scrutiny was not followed. The reason that

Deutsche Bank did not give this scrutiny to Epstein is that it knew that doing so

would more fully reveal Deutsche Bank’s participation in and responsibility for

Epstein’s sex-trafficking venture.

      212. As early as November 1, 2013, Epstein and other co-conspirators in his

sex-trafficking venture began using Deutsche Bank accounts to make wire transfers

of money to facilitate Epstein’s sex abuse and his sex-trafficking venture. Over the

course of the relationship, Epstein and his representatives used Deutsche Bank

accounts to send dozens of wires, directly and indirectly, including at least 18 wires

in the amount of $10,000 or more to then known co-conspirators in the sex-

trafficking venture, including Lesley Groff, Sarah Kellen, and Nadia Marcinkova—

individuals who were listed as Epstein’s co-conspirators in his Non-Prosecution

Agreement with the U.S. Attorney’s Office in Florida.

      213. Deutsche Bank was aware that the recipients of some of these wire

transfers described in the previous paragraph were to Epstein’s co-conspirators, as

described further below. Deutsche Bank was aware that its wire transfers were in

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furtherance of Epstein’s sexual abuse and the Epstein sex-trafficking venture.

       214. On January 24, 2014, Deutsche Bank opened checking and money

market accounts for an Epstein-related trust named “The Butterfly Trust.” The

Butterfly Trust included a number of beneficiaries, including, among others, Lesley

Groff, Sarah Kellen, and Nadia Marcinkova, and a number of women with Eastern

European surnames. When Deutsche Bank personnel asked Epstein and Epstein’s

representatives about his relationship with the beneficiaries, Epstein represented that

they were employees or friends. Deutsche Bank’s KYC records state that the

purpose of the money market account was “to pay all expenses/disbursements

related to the trust [such as] taxes, trust fee [sic], etc.”

       215. The Butterfly Trust accounts were, like the overall Epstein relationship

itself, approved for onboarding based on the earlier Approval Email from Charles

Packard, despite obvious reputational and possible financial crime risks.

Specifically, the beneficiaries of the Butterfly Trust included, among others, known

criminal co-conspirators Lesley Groff, Sarah Kellen, and Nadia Marcinkova. The

existence of co-conspirators as beneficiaries of the trust further established Deutsche

Bank’s actual and constructive knowledge that payments through the Trust would

be used to further or coverup criminal activity and to endanger more young women

and girls as victims of Epstein’s sexual abuse and the Epstein sex-trafficking

venture.    In addition, Paul Morris had actual and constructive knowledge of

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Epstein’s sex-trafficking venture because of his previous time at JP Morgan.

      216. At the time of onboarding of the Butterfly Trust accounts, Deutsche

Bank was aware that the Trust’s beneficiaries were co-conspirators of Epstein’s prior

sex trafficking-related offenses. In October 2013, a compliance officer performed

background checks on the beneficiaries of the trust and flagged for Paul Morris that

one of the beneficiaries, Sarah Kellen, had been alleged to be one of Epstein’s co-

conspirators.   In reply, Morris confirmed that Kellen “was accused as a co-

conspirator in a case but was never brought to trial nor ever convicted. The account

for which she will be associated is a trust account which names her as a beneficiary.”

The alert was cleared citing the Approval Email from Paul Morris. Morris had

knowledge that Kellen was part of the Epstein sex-trafficking venture.

      217. While Epstein held accounts at Deutsche Bank, he used the Butterfly

Trust account and various other accounts to send over 120 wires totaling $2.65

million to beneficiaries of the Butterfly Trust. These transfers furthered his sex

abuse and the sex-trafficking venture, including funds paying directly for coercive

and commercial sex acts, funds paid to professionals for carrying out illegal acts for

the operation of the sex-trafficking venture, and paying funds to others for

committing crimes necessary to continue the operation of the sex trafficking venture.

      218. Epstein used Deutsche Bank accounts to pay for coerced commercial

sex acts by Jane Doe 1, an individual Morris and others at Deutsche Bank knew was

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a victim of Epstein’s illegal operation.

      219. Given Deutsche Bank’s knowledge about Epstein’s past sex trafficking,

its continuation of its financial relationship with Epstein after January 24, 2014 (and

earlier) was, at a minimum, in reckless disregard of the fact that Epstein was using

means of force, threats of force, fraud, coercion (and a combination of such means)

to cause and coerce Epstein’s victims to engage in commercial sex acts.

      220. By way of another example of the flagrant nature of Epstein’s coercive

sex-trafficking operation, in around 2013 certain of Epstein’s foreign victims (who

essentially lived with Epstein as commercial sex slaves) began having immigration

problems and risked the possibility of deportation. Epstein’s solution was to force

certain of his American victims to enter into same-sex marriages with his foreign

victims in order to prevent deportation and to exercise even greater control over all

of the victims he caused to marry one another.

      221. One way in which Epstein obtained victims to sexually abuse was by

using sham marriages to keep control over select victims and keep them in the

country. Epstein was paying fees from his Deutsche Bank account to a particular

immigration attorney to coach the women who did not want to participate on what

to say. Epstein also had his personal attorney – the same one that was corresponding

with Deutsche Bank to coach him on circumventing reporting requirements in

violation of federal structuring laws – meeting with the immigration attorney and

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advising the women and signing related checks.

      222.   Epstein even arranged for Deutsche Bank to open accounts in the

names of certain of his victims. In doing all this, Epstein needed to know, with

absolute certainty, that his bank would not report this highly suspicious and

obviously illegal activity. Even though his relationship with Deutsche Bank was

brand new, he knew the bank would assist him in this multi-layered criminal aspect

of his sexually abusive international operation. And the reason Epstein knew this is

that Deutsche Bank had, at a minimum, tacitly agreed to participate in his sex-

trafficking venture and was well aware that Epstein was a sex trafficker in need of a

bank to aid in his illegal and abusive venture.

      223. With the marriages, like any other aspect of their lives under the rule of

Epstein, the abuse victims were given no choice about whether to marry one another.

      224. Epstein demanded that they comply, and the “professionals” closest to

Epstein choreographed the entire arrangement, from hiring and paying the crooked

immigration attorney to falsifying records, to facilitating wire transfers, to

establishing a bank account at Deutsche Bank.

      225. The sham marriage scheme, which was designed solely to perpetrate

continued sexual abuse and trafficking through immigration and marriage fraud, was

just another example of Epstein’s brazen criminality that he could never have pulled

off without a complicit bank protecting him.

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      226. Epstein used Deutsche Bank for all matters relating to his criminal sex-

trafficking enterprise because he knew that Deutsche Bank had agreed to disregard

the fact that Epstein was using the account as part of his sex-trafficking venture.

      227. Deutsche Bank financially benefited from the accounts that Epstein

used for his sex-trafficking operation, including the accounts for his many related

entities, the personal accounts for his longtime attorney, and the accounts for some

of his victims.

      228. Deutsche Bank, by providing the financial infrastructure to Epstein’s

illegal operation, was also able to justify charging Epstein higher.

      229. In addition to actual knowledge that it was facilitating the Epstein sex-

trafficking venture, Deutsche Bank benefited financially by participating in a

venture that it should have known had engaged in coercive sex trafficking in

violation of 18 U.S.C. § 1591(a).

      6. ARRC’s Consideration of the Epstein Relationship

      230. Deutsche Bank’s awareness that it was facilitating Epstein’s sex-

trafficking venture continued to grow after January 24, 2014.

      231. In 2014 and into 2015, Deutsche Bank’s Anti-Financial Crime

department alerted Deutsche Bank’s senior management to issues concerning

Epstein’s sex trafficking. Deutsche Bank’s senior management chose to ignore

Epstein’s coercion of his victims because Deutsche Bank was profiting handsomely

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from facilitating Epstein’s sex abuse and sex trafficking.

      232. One issue regarding Epstein’s sex trafficking arose in connection with

the Bank’s opening of a Global Markets account for Epstein. In January 2015,

during the onboarding process for that account, a Deutsche Bank AML Compliance

Officer (“AML Officer-1”) identified recent developments in the press concerning

Epstein, including: (1) a June 2014 federal appeals court ruling that some of

Epstein’s alleged victims would receive information supporting their challenge to

Epstein’s 2008 non-prosecution agreement, potentially reopening criminal cases for

federal sex offenses against Epstein, and (2) additional allegations in the press

regarding Epstein’s relationships with a prominent former U.S. politician and a

member of a European royal family.

      233. AML Officer-1 escalated these issues to a more senior AML officer

(“AML Officer-2”). In response, AML Officer-2 initially noted that the same

negative allegations against Epstein had been approved by Charles Packard, the

former Head of AML and the former General Counsel for the Americas and attached

a copy of the Approval Email. AML Officer-1 responded that they should still run

the issue by the then-Head of AFC Americas because: (1) the Approval Email was

“not a direct approval by [the Head of AML Compliance for Deutsche Bank

Americas and the [then] General Counsel for Deutsche Bank Americas]; it’s a

statement by a front office MD about his conversation with them and their alleged

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opinion not to escalate to Rep Risk;” (2) the Head of AML Compliance was no

longer at the Bank; and (3) there were new developments in Epstein’s case that could

lead to the reopening of his 2008 plea deal.

      234. As a result of these discussions and additional media reports regarding

Epstein’s association with prominent political figures, AML Officer-2 put the

question of whether to escalate before Patrick Harris, who agreed to escalate to the

ARRC. In the email to Patrick Harris, AML Officer-2 noted that the communication

underpinning the Approval Letter occurred before these new developments and for

further background also noted, among other things, that “[b]y 2011, 40 underage

girls had come forward with testimony of Epstein sexually assaulting them” and that

“Epstein [had] managed to settle at least 17 lawsuits out of court.”

      235. Later that month, on January 22, 2015, in preparation for the ARRC

meeting, Charles Packard and Paul Morris met privately and in person with Epstein

at his New York home. The private meeting was held in Epstein’s Manhattan

mansion. During the meeting, Packard asked Epstein about his involvement in sex

trafficking.   In response, Epstein allegedly “explained away” suspicious

transactions, including large cash withdrawals and payments to Russian accounts

that appeared suspicious in that they may have been indicators of sex trafficking and

coercive commercial sex acts. Epstein’s denials were not credible.

      236. During the meeting at Epstein’s home, trafficking victims were in the

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house, as they always were, and openly observable by Packard and Morris.

      237. Tellingly, and perhaps because of what Packard and Morris saw,

Packard and Morris did not make any contemporaneous record of their meeting with

Epstein. The reason they did not make a record of Epstein’s denials was that any

such record would have been utterly implausible.

      238. Through information and belief, other Deutsche Bank employees also

met with Epstein personally outside the bank and made observations consistent with

Epstein’s daily sex trafficking activities, which included being surrounded by certain

of his victims.

      239. Other than perfunctory, private meetings with Epstein to get their

stories straight, Deutsche Bank did not take any other steps at the time to investigate

the veracity of the allegations about Epstein being involved in sex abuse and sex

trafficking. The reason Deutsche Bank did not take further steps to investigate the

veracity of the allegations is because it knew that such investigation would only

further confirm the allegations.

      240. On January 30, 2015, members of the ARRC, including Stuart Clarke,

Chief Operating Officer for the Americas and General Manager of Deutsche Bank’s

New York branch, and Jan Ford, a Managing Director and Deutsche Bank Americas

Head of Compliance and a member of the North America Executive Committee and

the Global Compliance Executive Committee, met to discuss the Epstein

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relationship. Despite the fact that Deutsche Bank’s policies and procedures mandate

that detailed minutes of such meetings be kept, Deutsche Bank did not make any

record of this important meeting. Deutsche Bank decided not to make a record of

this meeting because a record would have demonstrated that it knew, and was acting

in reckless disregard of the fact, that Epstein was using his Deutsche Bank accounts

to cause his victims, thorough means of force, fraud, and coercion, to be sexually

abused and to engage in commercial sex acts.

      241. In a recent case before this Court, it was alleged that a confidential

witness (identified only as “CW1”) reported that the way this meeting was conducted

flouted all of Deutsche Bank’s rules about how such meetings should be handled.

Specifically, the private meeting at Epstein’s bar has been described as a “due

diligence meeting” by Deutsche Bank. However, Deutsche Bank’s own rules lay

out how such diligence meetings are to be conducted when dealing with high risk

clients. CW1 explained: “There are meant to be minutes taken, there is meant to be

a thorough record of the meeting, allegations are meant to be put to the client in

writing and the client is generally expected to have his lawyer or advisor, and often

also his accountant, with him.” Both sides are meant to sign off on the minutes of

such meetings. Failing to abide by these regulations is a disciplinary offense at

Deutsche Bank. According to CW1, however, neither Packard nor Morris were ever

disciplined. See Karimi, Dkt. 37 at ¶ 87.

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      242. The reason that Deutsche Bank did not comply with its own rules

described in the preceding paragraph is that it knew that compliance with the rules

would create a paper trail about its awareness of its complicitly in Epstein’s sex-

trafficking.

      243. Later that day, a member of the ARRC emailed Charles Packard to say,

without explanation, that the committee was “comfortable with things continuing”

with Epstein, and that another member of the committee had “noted a number of

sizable deals recently.” The reason that Deutsche Bank was “comfortable” with

continuing its relationship with Epstein is because of the “sizeable deals” it was

obtaining. The sizeable deals with Epstein were very valuable to Deutsche Bank

and benefited Deutsche Bank financially. At that time (and earlier), Deutsche Bank

knew that it was obtaining these “sizeable deals” only because it was willing to fund

Epstein’s sex-trafficking venture.

      7. Conditions on the Epstein Relationship Not Communicated to the
         Relationship Managers or the Relevant Transaction Monitoring
         Team.

      244. The following week, another member of the ARRC, Jan Ford, the

Bank’s Head of Compliance, Americas, reiterated the ARRC’s decision in an email

to other executives, stating that ARRC had agreed to “continue business as usual

with Jeff Epstein” based upon Packard’s “due diligence [bar] visit with him.”

Deutsche Bank knew, and was acting in reckless disregard of the fact, that Epstein’s


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usual business was the sexual abuse and coercive sex trafficking of young women

and girls.

      245. That same email outlined three conditions that the ARRC placed on the

relationship: (1) Epstein would be allowed to continue to “conduct trades and

transactions in existing accounts without Compliance pre-approval, provided that

the business had determined these transactions do not involve any unusual and/or

suspicious activity or are in a size that is unusually significant or novel in structure”;

(2) the Bank’s Corporate Banking and Securities unit would be allowed to “also

‘open’ accounts to facilitate activity as a booking matter where the activity has

already been approved by [the Bank’s America’s Wealth Management division]”;

and (3) the business would “need to monitor for any further developments in

connection with the reputational risk of the client relationship and to review

transactions/activity conducted in the accounts for any activity, size or structure as

described in [the first condition].” Deutsche Bank was aware that conditions such

as these were necessary (although not sufficient) to prevent Epstein from using

Deutsche Bank accounts in furtherance of sex abuse and coercive sex trafficking.

      246. Deutsche Bank had no intention of actually enforcing the conditions

described in the previous paragraph on Epstein. Instead, the conditions were

designed to create the illusion—i.e., a paper trail—that would make it appear that

Deutsche Bank was closely monitoring Epstein when, in fact, it was allowing him

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to use his multiple Deutsche Bank accounts for sex abuse and sex trafficking

purposes.

      247. The three conditions were communicated to several senior Bank

personnel who did not have day-to-day operational authority over the Epstein

account. Deutsche Bank never communicated the conditions to those who could

have enforced them—i.e., members of the Epstein relationship team. As a result,

Epstein’s relationship managers continued conducting business with Epstein in the

same manner as they had before the ARRC meeting. The conditions thus became a

dead letter—as Deutsche Bank had intended.

      248. This failure was then substantially compounded when AML Officer-2

purportedly misinterpreted the conditions; as a result, they were also not

communicated to the transaction monitoring team responsible for monitoring the

Epstein relationship.     Specifically, AML Officer-2 interpreted the clause

“transactions [with] unusual and/or suspicious activity or are in a size that is

unusually significant or novel in structure” to mean transactions that were unusual,

suspicious, or novel as compared to the prior history of transactions related to the

Epstein relationship.   He communicated this interpretation to the rest of the

transaction monitoring team responsible for the Epstein relationship.           The

interpretation was exemplified by a later email exchange in March of 2017, when a

member of the transaction monitoring team responded to an alert about payments to

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a Russian model and Russian publicity agent, stating, “[s]ince this type of activity is

normal for this client it is not deemed suspicious.”

      249. Instead of monitoring the accounts for all potential crimes and

suspicious activity that could be implicated by Epstein’s past conduct, including

payments to co-conspirators and those that could be related to sex trafficking

involving adults, AML Officer-2 only instructed the relevant transaction monitoring

team to verify, using internet searches, that any woman involved with transactions

related to the Epstein relationship was at least 18 years old and to only flag

transactions if they could not discern a rational reason for the transaction, a standard

which had little if any effect on Deutsche Bank’s furthering Epstein’s sex abuse and

his sex trafficking venture.

      8. Deutsche Bank Continued to Facilitate the Epstein Sex-Trafficking
         Venture for Years Despite Additional Red Flags.

      250. On July 21, 2015, Epstein requested that Deutsche Bank increase his

trading limits. Several days later, a member of Epstein’s coverage team (“Coverage

Team Member-1”), who was aware of the ARRC’s conditions on the relationship,

escalated this request to AML Officer-2, who in turn escalated the issue to the

Chairman of the ARRC. On July 29, 2015, after conferring with other members of

the ARRC but without formally meeting, the Chairman replied to AML Officer-2

stating they had no objections. The Chairman added, “I also checked in with

[Packard] last night to make sure he supports this and has heard nothing negative on
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the client. [Packard] confirmed both.”

      251. Again, without any due diligence and in complete disregard for the

crimes Epstein was perpetrating and the reputational risks he posed, Deutsche Bank

knowingly and intentionally allowed him to continue to employ Deutsche Bank’s

accounts to further his criminal activities. See Karimi, Dkt. 37 at ¶ 92.

      252. On January 4, 2016, an accountant representing Epstein (herein,

“Accountant-1”) requested that Deutsche Bank open a brokerage account for

Gratitude America, Epstein’s private charity. Coverage Team Member-1 escalated

the request to AML Officer-2, who directed the inquiry to the Secretary for the

ARRC. The Secretary of the ARRC conferred with a member of the ARRC and

ordered that an external due diligence report be prepared on Epstein. In response to

the request for additional information, Accountant-1 informed Deutsche Bank of

Epstein’s resignation from Gratitude America and withdrew the request to open the

account. Thereafter, Deutsche Bank did not run a due diligence report on Epstein.

      253. Deutsche Bank was aware that the reason that Epstein was withdrawing

his request to open the new account was to avoid a due diligence report. Deutsche

Bank was aware that a due diligence report on Epstein would have documented that

Epstein was using Deutsche Bank accounts to facilitate his sex abuse and sex-

trafficking venture.

      254. By April 2016, Paul Morris was replaced by another relationship

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manager (herein, “Relationship Manager-2”) to handle accounts associated with

Epstein. Although Relationship Manager-2 had Epstein’s KYC file and had been

made aware of the prior escalation of the relationship to the ARRC, he was not made

aware by anyone at Deutsche Bank of the three conditions the ARRC placed on the

relationship after its February 2015 review.

      255. In a May 2018 email, a compliance officer submitted an inquiry to

Relationship Manager-2 about payments to the accounts of women with Eastern

European surnames at a Russian bank, and asking for an explanation of the purpose

of the wire transactions and Epstein’s relationship with the counterparties. After

submitting the questions to Accountant-1, Relationship Manager-2 forwarded

Accountant-1’s response to the compliance officer, which read “SENT TO A

FRIEND FOR TUITION FOR SCHOOL.” When the compliance officer followed

up, asking “[w]hy is this client using this account to . . . pay school tuition?”

Relationship Manager-2 replied “[g]enerally, Jeffrey has separate accounts to

manage each of his properties. This is one of them. However, when making one-

off transfers to people, he and his finance staff have the flexibility to use any account

they like that is funded.”

      256. The compliance officer did not ask any further follow-up questions, and

the transaction was cleared. This transaction was one of many in which Epstein used

his Deutsche Bank accounts to further his sex abuse and sex-trafficking venture.

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Deutsche Bank did not inquire further about the transaction because it knew that

doing so would only further expose its participation in and facilitation of Epstein’s

sex-trafficking venture.

      257. In addition, payments from the Butterfly Trust accounts and other

Epstein accounts were used for lawsuit settlement payments to alleged victims, and

rent, legal, and immigration expenses made to or on behalf of young women whom

Epstein was sexually abusing and trafficking, including additional women with

Eastern European surnames.

      9. Deutsche Bank Knew About Epstein’s Suspicious Cash Activity
         Throughout the Relationship

      258. Several of Epstein’s employees or agents had authority to conduct

transactions in the accounts on Epstein’s behalf. One of them, Epstein’s personal

attorney (herein, “Attorney-1”), was active in withdrawing cash for Epstein.

Attorney-1, on behalf of Epstein, made a total of 97 withdrawals from Deutsche

Bank’s Park Avenue (New York City) Branch from 2013 to 2017 from personal

accounts belonging to Epstein. The transactions in question occurred roughly two

to three times per month, all in the amount of $7,500 per withdrawal, Deutsche

Bank’s limit for third-party withdrawals (i.e., withdrawals made by an authorized

user who was not a primary account holder). When Deutsche Bank personnel asked

Attorney-1 why Epstein needed cash, Attorney-1 replied Epstein used it for travel,

tipping, and expenses.
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      259. Under federal regulations, banks and other financial institutions must

file Currency Transaction Reports (“CTRs”) with the U.S. Treasury Department

when there are cash transactions with an individual in excess of $10,000 in one day.

Breaking up transactions to avoid the CTR reporting is a criminal offense commonly

referred to as “structuring.”

      260. In May 2014, Attorney-1 inquired into how often he could withdraw

cash on behalf of Epstein without triggering an alert. Around the same time,

Relationship Coordinator-1 sent an email to the branch manager stating that

Attorney-1 “asked how often they could come in to withdraw cash without creating

some sort of alert,” and asking “Is it once a week? Twice a week? Once every other

week?”

      261. In 2017, Attorney-1 again inquired about triggering an alert.

Specifically, in July 2017, Attorney-1 had, among other things, asked a teller

whether a withdrawal transaction in excess of $10,000 would require reporting and,

upon being advised that it would, broke up the withdrawal transaction over two days.

In July of that year, members of Deutsche Bank’s Wealth Management AML

transaction monitoring team, including AML Officer-2, met to discuss suspicions of

cash structuring to avoid currency transaction reports (“CTRs”) by Attorney-1.

Nonetheless, Deutsche Bank permitted Attorney-1 to continue to withdraw cash

from his own and Epstein’s accounts. In 2018, just prior to Deutsche Bank’s closing

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of the Park Avenue Branch, which was located nearby Epstein’s house, Attorney-1

withdrew $100,000 in cash on behalf of Epstein. When later questioned why

Attorney-1 withdrew these sums from Deutsche Bank, Attorney-1 reported that

Epstein needed the funds for tipping and household expenses—an explanation that

was not credible on its face.

      262. In total, in a roughly four-year period, Attorney-1 withdrew on

Epstein’s behalf more than $800,000 in cash from Epstein’s personal accounts.

Throughout the Epstein relationship, Deutsche Bank never sought or received any

explanation for Epstein’s substantial cash activity beyond the general travel, tipping,

and expenses explanation provided by Attorney-1. The reason that Deutsche Bank

never sought or received further information about Epstein’s case activity is that it

knew that truthful information would more directly expose Epstein’s sex-trafficking

venture.

      263. Attorney-1 also had accounts at Deutsche Bank. Attorney-1 withdrew

substantial amounts of cash from his accounts and transferred money from Epstein

controlled accounts to his accounts as payment or his participation in activities to

further his sex abuse and his sex-trafficking scheme, including engaging in the crime

of structuring outlined above.

      264. In light of all of these red flags, in addition to its actual knowledge that

they were facilitating the Epstein sex-trafficking venture, Deutsche Bank was (at a

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minimum) willfully blind and should have known that it was facilitating sex abuse

and a sex-trafficking venture that was engaging in coercive sex trafficking in

violation of 18 U.S.C. § 1591(a).

      265. In a recent case before this Court, it was alleged that a confidential

witness (identified only as “CW1”) reported that Epstein was retained as a client

only after discussion at Deutsche Bank’s Board level. See Karimi, Dkt. 86 at 6.

      266. In the same recent case before this Court, it was alleged that a

confidential witness (identified only as “CW8”) reported that “Deutsche Bank had a

KYC [Know Your Customer] ‘special deal’ for Epstein and other high-net-worth

individuals. CW8 explained that such individuals were not required to submit to the

normally required KYC documentation.          Deutsche Bank gave them special

exceptions because of the amount of business they generated.” Id. at 7. With respect

to Epstein, the reason for the special KYC deal was that applying standard KYC

regulations would have more fully exposed Epstein’s sex-trafficking venture.

      267. In the same recent case before this Court, a confidential witness

(“CW8”) explained that “after Epstein was onboarded, decisions about whether to

continue keeping him as a client were repeatedly escalated, including to Deutsche

Bank’s Reputational Risk Committee. ‘He would go up, get approved, go up, get

approved,’ CW8 said. CW8 noted that the people who sat on Deutsche Bank’s

Reputational Risk Committee were ‘primarily business-side people,’ meaning they

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were interested solely in making money for the Bank.” Id.

      268. In the same case, another confidential witness (“CW1”) explained that

from the time of Epstein’s onboarding, the relationship was classified by Deutsche

Bank as “high-risk” and therefore should have been subject to enhanced due

diligence. Instead, in an ironic twist, the Bank designated as an “Honorary PEP”

(that is, an Honorary Politically Exposed Person). According to CW1, “there is no

such thing as an honorary PEP. You are either a PEP or you aren’t. I suspect they

use this term to fudge things. Epstein was certainly very high risk . . . . But Deutsche

Bank did not treat him as a high-risk client. I think the phrase ‘honorary PEP has

been dreamt up to explain away why he wasn’t treated as a high-risk client—whose

accounts should have been constantly reviewed.” Id., Dkt. 37 at ¶ 100. The reason

Deutsche Bank did not constantly review Epstein’s accounts is that it knew those

accounts were being used as part of a sex-trafficking venture.

      10.       Termination of the Epstein Banking Relationship

      269. In November 2018, the Miami Herald published a three-part

journalistic report entitled Perversion of Justice, which rehashed old news stories

about Jeffrey Epstein and his publicly known history of sexual abuse. While the

series did not contain any new information, it resurfaced previously publicized

information about Jeffrey Epstein’s sexual abuse of women, now in a post-#MeToo

world.

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      270. With the world now even more expansively talking about Epstein’s

long-known history for committing sex crimes, Deutsche Bank got nervous it would

be exposed as the complicit banking partner of Epstein’s operation.

      271. On December 21, 2018, after making millions on the banking

relationship with Epstein, Deutsche Bank informed Epstein by letter that they would

no longer be servicing his accounts. While Deutsche Bank stopped being Epstein’s

banker, it did not make a clean breast of things by disclosing its actions in support

of the conspiracy to the authorities. Nor did it communicate its abandonment of its

conspiring with Epstein and others in a manner reasonably calculated to reach

Epstein’s co-conspirators.

      272. While Deutsche Bank stopped being Epstein’s banker, it continued to

take subsequent actions to promote the venture and conspiracy. Despite the Bank’s

decision to offboard all Epstein accounts due to reputational risks, Relationship

Manager-2 drafted reference letters to two other financial institutions, on Deutsche

Bank letterhead, indicating in one such letter that he was “unaware of any problems

relating to the operation or use of [the] accounts.”

      273. Deutsche Bank fraudulently concealed its role in facilitating Epstein’s

sexual abuse and the sex-trafficking venture from the public until around July 2020.

11.   Deutsche Bank’s Failure to File Suspicious Activity Reports

      274. Deutsche Bank also failed to timely file with the federal government

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the required Suspicious Activity Reports (SARs) that financial institutions must file

with the Financial Crimes Enforcement Network (FinCEN) whenever there is a

suspected case of money laundering or fraud. Filing of these reports is required by

the Bank Secrecy Act and related laws and regulations. These reports are tools that

the federal government uses to detect and prosecute, among other illegal activities,

sex trafficking in violation of the TVPA.

      275. While Deutsche Bank was providing Epstein more than $200,000 in

cash per year, it was required to file SARs about Epstein’s suspicious and unusual

cash transactions.

      276. Deutsche Bank’s failure to filed SARs about Epstein’s sex-trafficking

venture, in spite of numerous red flags, was wrongful and purposeful.

      12.      Conclusions Regarding the Epstein Accounts

      277. If a financial institution decides to do business with a high-risk client,

that institution is required to conduct due diligence commensurate with that risk and

to tailor its transaction monitoring to detect suspicious or unlawful activity based on

what the risk is. Deutsche Bank knowingly, intentionally, deliberately, and

maliciously failed to do so with regard to its relationship with Epstein.

      278. After reviewing Deutsche Bank’s relationship with Epstein, the New

York Banking Regulators concluded that “although the Bank properly classified

Epstein as high-risk, the Bank failed to scrutinize the activity in the accounts for the

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kinds of activity that were obviously implicated by Epstein’s past.”

      279. Deutsche Bank was well aware not only that Epstein had pled guilty

and served prison time for engaging in sex with a minor but also that there were

public allegations that his conduct was facilitated by several named co-conspirators.

      280. Despite this knowledge, Deutsche Bank did little or nothing to inquire

into or block numerous payments to named co-conspirators, and to or on behalf of

numerous young women, or to inquire how Epstein was using, on average, more

than $200,000 per year in cash.

      281. Epstein used the $200,000 per year in cash to facilitate his sex abuse

and his sex-trafficking venture. As the New York Banking Regulators concluded,

the fact that the cash withdrawals “were suspicious should have been obvious to

Bank personnel at various levels.” In fact, Deutsche Bank personnel at various level

did recognize that the transactions were being used by Epstein to facilitate his sex

abuse and his sex-trafficking venture.

      282. Deutsche Bank’s desire to maintain its profitable relationship with

Epstein led it to deliberately avoid taking steps that would have documented its

involvement in Epstein’s sex-trafficking venture. Despite Epstein’s prior criminal

history, the initial onboarding of the first Epstein account was not reviewed by

Deutsche Bank’s regional reputational risk committee but was instead approved in

what appears to have been an off-hand conversation reflected only in the Approval

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Email. That Approval Email was then relied upon, substantially without additional

scrutiny, to open numerous other Epstein-related accounts.

      283. When the relationship was finally elevated to the full ARRC in early

2015, no minutes were taken of that meeting, contrary to Deutsche Bank policy.

Thereafter, the Committee continued the relationship based primarily on a brief,

purported due diligence meeting between two front-office personnel and Epstein

himself, the substance of which was also not reflected in writing.

      284. Moreover, the conditions imposed by the ARRC—conditions that, if

followed, would have prevented many subsequent suspicious transactions—(1) were

not transmitted to the majority of the relationship team; and (2) were misinterpreted

by a compliance officer in a way that resulted in very little change in how the

monitoring of the accounts occurred going forward. As the New York Banking

Regulators concluded, “Throughout the relationship, very few problematic

transactions were ever questioned, and when they were, they were usually cleared

without satisfactory explanation.”

      285. To profiteer from the fees and referrals generated by Epstein, Deutsche

Bank intentionally, continuously, and outrageously allowed Epstein to use its

accounts to cover up old crimes and to facilitate new ones—a major compliance

failure and reputational stain on the bank. See Karimi, Dkt. 37 at ¶ 42.

      286. Deutsche Bank should have filed SARs about Epstein’s receipt of

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hundreds of thousands of dollars in cash in suspicious circumstances. But it willfully

failed to do so, because it knew that doing so would reveal the Epstein sex-trafficking

venture and conspiracy.

      287. In and around the time that Deutsche Bank on-boarded Epstein, it

became aware that it was joining in an on-going sex-trafficking venture and

conspiracy. It was aware that the on-going venture and conspiracy had been

operating in a similar manner back to (at least) 2005. Deutsche Bank choose to ratify

the earlier acts of the venture and conspiracy and to act in furtherance of the venture

and conspiracy.

      D. Deutsche Bank’s Participation in the Epstein Sex-trafficking Venture
         Was Part of a Broader Pattern of Participating in Other Illegal and
         “High Risk, High Reward” Ventures.

      288. Deutsche Bank’s intentional and outrageous participation in the Epstein

sex abuse and sex-trafficking venture was not a “one off.” To the contrary, its

deliberate participation fits within a pattern and practice of Deutsche Bank profiting

by undertaking illegal “high risk, high reward” clients. See generally, Karimi, Dkt.

86 at 2 (recounting allegations that Deutsche Bank executives “routinely overruled

compliance staff so that the Bank’s wealth management business could commence

or continue relationships with high-risk, ultra-rich clients, such as Russian oligarchs,

the convicted sex trafficker Jeffrey Epstein, founders of terrorist organizations,

persons associated with Mexican drug cartels, and people suspected of financing


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terrorist organizations”).

      289. As discussed above, the “special deal” that Epstein received from

Deutsche Bank in not being required to provide the normally-required Know Your

Customer document was extended to other high-net-worth individuals. Deutsche

Bank gave this “special deal” because of the amount of business these individuals

generated. See Karimi, Dkt. 37 at ¶ 101.

      290. As part of a pattern and practice similar to what it did for Epstein,

Deutsche Bank routinely onboarded without due diligence individuals reportedly

engaged in criminal activities, in reckless disregard of the financial and other crimes

they helped to perpetrate. See id. at ¶ 103.

      291. In a similar pattern to what it did for Epstein, Deutsche Bank onboarded

and provided accounts to Eastern European oligarchs reportedly involved in

criminality, including Igor Putin and Roman Abramovich.

      292. In a similar pattern to what it did for Epstein, Deutsche Bank onboarded

and provided accounts to the founders of the Hezbollah terrorist organization.

      293. In a similar pattern to what it did for Epstein, Deutsche Bank onboarded

and provided accounts to a billionaire who was a relative of one of the founders of

Al Rajhi Bank in Saudi Arabia, an entity long suspected of financing terrorists.

      294. In a similar pattern to what it did for Epstein, Deutsche Bank onboarded

and provided accounts to Germán and José Efromovich despite their links to a

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Mexican drug cartel.

      295. Deutsche Bank’s pattern and practice has been exposed in multiple

ways. For example, in 2015, Deutsche Bank agreed to pay a combined $2.5 billion

in fines—a $2.175 billion fine by American regulators and a €227 million penalty

by British authorities—for its involvement in the Libor scandal uncovered in June

2012. The company also pleaded guilty to wire fraud, acknowledging that at least

29 employees had engaged in illegal activity.

      296. For another example, in November 2015, Deutsche Bank was ordered

to pay $258 million in penalties imposed by the New York State Department of

Financial Services and the U.S. Federal Reserve Bank after the bank was caught

doing business with Burma, Libya, Sudan, Iran, and Syria, which were under U.S.

sanctions at the time.

      297. For another example, in January 2017, Deutsche Bank agreed to a $7.2

billion settlement with the U.S. Department of Justice over its sale and pooling of

toxic mortgage securities in the years leading up to the 2008 financial crisis. As part

of the agreement, Deutsche Bank was required to pay a civil monetary penalty of

$3.1 billion and provide $4.1 billion in consumer relief, such as loan forgiveness.

      298. For another example, in January 2017, the bank was fined $425 million

by the New York State Department of Financial Services and £163 million by the

U.K. Financial Conduct Authority regarding accusations of money laundering $10

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billion out of Russia.

        299. The common thread running through Deutsche Bank’s participation in

the Epstein sex-trafficking venture and its other illegal behavior is that Deutsche

Bank intentionally planned to profit from being the banker for individuals and

organizations that other banks knew they could not lawfully handle. For Deutsche

Bank, this “high risk, high reward” approach ensured—and continues to ensure—

that it will earn greater profits than would come from complying with the law.

        E. The Statute of Limitations

        300. The statute of limitations under the TVPA is ten years after the cause

of action arose, or ten years after the victim reaches eighteen years of age, if the

victim was a minor at the time of the alleged offense. 18 U.S.C. § 1595(c)(1), (2).

The TVPA causes of actions for Jane Doe 1, and the other Class Members, all arose

within ten years of the filing of this complaint.

        301. The New York Adult Survivors Act has opened up a one-year revival

window for the statute of limitations. See New York State, Governor Hochul Signs

Adult     Survivors      Act,   Governor    Kathy   Hochul    (May     24,   2022),

https://www.governor.ny.gov/news/governor-hochul-signs-adult-survivors-act

(“For many survivors, it may take years to come to terms with the trauma of sexual

assault and feel ready to seek just.”).

        302. RICO does not establish a precise statute of limitations. In this case,

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the RICO enterprise, as well as the conspiracy to violate RICO, continued and caused

injury through around July 2020, as explained in further detail below, within any

possible statute of limitations.

      303. Deutsche Bank fraudulently concealed its role in facilitating the Epstein

sex trafficking venture through around July 20, 2020, when Deutsche Bank and the

New York banking regulators publicly announced a civil settlement for Deutsche

Bank’s violation of its obligations in connection with Jeffrey Epstein’s sex

trafficking. As a result, the conspiracy continued until that time and also any

applicable statute of limitations was equitably tolled until July 20, 2020.

      304. Deutsche Bank joined a conspiracy to violate the TVPA and a

conspiracy to violate RICO in and around 2013. Thereafter, it ratified the acts and

crimes already committed by the Epstein sex-trafficking venture and conspiracy in

furtherance of the venture and conspiracy.

      305. Jane Doe 1, and other members of the Class, did not have the means

and resources to uncover Deutsche Bank’s role in facilitating their sexual abuse and

sex trafficking until New York banking regulators announced their findings on July

20, 2020.

                     VII. CLASS ACTION ALLEGATIONS

      306. Jane Doe 1 brings this action pursuant to Federal Rule of Civil

Procedure 23(b)(3) and 23(c)(4) on behalf of herself and the following Class:

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      All women who were sexually abused or trafficked by Jeffrey Epstein
      during the time when Deutsche Bank began maintaining bank accounts
      for Epstein and/or Epstein related-entities, which was in or about
      August 19, 2013, through Epstein’s death on about August 10, 2019,
      both dates inclusive, as well as all women who were sexually abused or
      trafficked by Jeffrey Epstein during earlier times, between January 1,
      2005 and August 19, 2013, when the sex-trafficking venture and
      conspiracy was operating—i.e., from January 1, 2005 through August
      10, 2019 (the “Class Period”).

Jane Doe 1 reserves the right to seek leave to modify this definition, including the

addition of one or more subclasses, after having the opportunity to conduct

discovery.

      307. Numerosity: The Class consists of dozens of women, making joinder

impracticable, in satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of the Class

and the identities of the individual Class Members are ascertainable through records

maintained by the Epstein estate executors and the Defendants, including but not

limited to Deutsche Bank’s records for Epstein-related accounts (e.g., account

ledgers reflecting payments from Epstein to Class Members).

      308. Typicality: Jane Doe 1’s claims are typical of the claims of the other

Class Members she seeks to represent. The claims of Jane Doe 1and the other Class

Members are based on the same legal theories and arise from the same unlawful

pattern and practice of Deutsche Banks’ participation in and funding of Epstein’s

sex abuse and Epstein’s sex-trafficking venture.

      309. Commonality: There are many questions of law and fact common to


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the claims of Jane Doe 1 and the other Class Members, and those questions

predominate over any questions that may affect only individual Class Members,

within the meaning of Fed. R. Civ. P. 23(a)(2) and (b)(3). Class treatment of

common issues under Fed. R. Civ. P. 23(c)(4) will materially advance the litigation.

      310. Common questions of fact and law affecting Class Members include,

but are not limited to, the following:

          a. Whether the Epstein sex-trafficking venture caused its victims to

             engage in commercial sex acts in violation of Trafficking Victims

             Protection Act, 18 U.S.C. § 1591(a)(1);

          b. Whether the Epstein sex-trafficking venture recruited, enticed,

             solicited, harbored, provided, obtained, and transported victims in ways

             that were in or affecting interstate or foreign commerce;

          c. Whether Epstein and his co-conspirators used means of force, fraud,

             coercion, and abuse of legal process, or a combination of such means,

             to sexually abuse the victims and to cause victims to engage in

             commercial sex acts;

          d. Whether Deutsche Bank knowingly assisted, facilitated, and supported

             the Epstein sex-trafficking venture’s pattern and practice of coercively

             forcing victims to engage in commercial sex acts;

          e. Whether Deutsche Bank benefited financially or by receiving things of

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             value from its participation in a venture which has engaged in sex

             trafficking in violation of TVPA, 18 U.S.C. § 1591(a)(1);

         f. Whether Deutsche Bank knew or should have known that the Epstein

             sex-trafficking venture had engaged in violations of the TVPA, 18

             U.S.C. § 1591(a);

         g. Whether Deutsche Bank was part of a conspiracy violate the TVPA and

             RICO, in violation of 18 U.S.C. § 1594(c) & 18 U.S.C. § 1961(d); and

         h. Whether Deutsche Bank committed aided and abetted, or was negligent

             in facilitating, Epstein’s sexual abuse which would constitute and

             include sexual offenses as defined in Article 130 of New York penal

             law committed against persons who were eighteen years of age or older.

      311. Absent a class action, most of the Class Members would find the cost

of litigating their claims to be cost-prohibitive and will have no effective remedy.

The class treatment of common questions of law and fact is also superior to multiple

individual actions or piecemeal litigation, in that it conserves the resources of the

courts and the litigants and promotes consistency and efficiency of adjudication.

      312. Adequacy: Jane Doe 1 will fairly and adequately represent and protect

the interests of the other Class Members she seeks to represent. Jane Doe 1 has

retained counsel with substantial experience in prosecuting complex litigation and

class actions. Jane Doe 1 and her counsel are committed to vigorously prosecuting

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this action on behalf of the other Class Members and have the financial resources to

do so. Neither Jane Doe 1 nor her counsel have any interests adverse to those of the

other Class Members.

      313. This action has been brought and may properly be maintained as a class

action against Deutsche Bank pursuant to Rule 23 of the Federal Rules of Civil

Procedure because there is a well-defined community of interest in the litigation and

the proposed Class is readily and easily ascertainable from Defendants’ records.

      314. Superiority: A class action is superior to all other available methods

for the fair and efficient adjudication of this controversy because:

          a. Joinder of all Class Members is impracticable;

          b. The prosecution of individual remedies by Members of the Class will

             tend to establish inconsistent standards of conduct for Defendants and

             result in the impairment of Class Members’ rights and the disposition

             of their interests through actions to which they were not parties;

          c. Class action treatment will permit a large number of similarly-situated

             persons to prosecute their common claims in a single forum

             simultaneously, efficiently, and without the unnecessary duplication of

             effort and expense that numerous individual actions would engender;

          d. Absent a class action, Class Members will continue to suffer losses and

             be aggrieved and Defendants will continue to violate New York and

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             federal law without remedy;

          e. Class treatment of this action will cause an orderly and expeditious

             administration of class claims, economies of time, effort and expense

             will be fostered, and uniformity of decisions will be ensured;

          f. Jane Doe 1 and her counsel are unaware of any class action brought

             against any Defendant for the violations alleged in this action;

          g. The forum is desirable because Defendants conducted the subject

             business with Jeffrey Epstein in this District and Class Members were

             consequently trafficked in this District; and,

          h. This action presents no difficulty that would impede its management by

             the Court as a class action.

                            VIII. CAUSES OF ACTION

                           COUNT I
   KNOWING BENEFICIARY IN A SEX-TRAFFICKING VENTURE IN
  VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION ACT,
                  18 U.S.C. §§ 1591(a)(2), 1595

      315. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

      316. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      317. Deutsche Bank knowingly and intentionally participated in, assisted,

supported, and facilitated a sex-trafficking venture that was in and affecting
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interstate and foreign commerce, together and with others, in violation of 18 U.S.C.

§ 1591(a)(2).

      318. Deutsche Bank took many concrete steps to aid Epstein’s sex-

trafficking venture, as outlined above. Among the concrete steps that Deutsche Bank

took to aid Epstein was providing hundreds of thousands of dollars in cash, which

made the sex-trafficking venture possible. Providing Epstein hundreds of thousands

of dollars in cash caused Deutsche Bank to receive financial benefits. Deutsche

Bank’s willingness to provide large amounts of cash to Epstein was the quid pro quo

for it receiving financial benefits from Epstein.

      319. The cash that Deutsche Bank provided was necessary for Epstein to

coerce Jane Doe 1 as well as other Class Members to engage in commercial sex acts.

The cash directly formed part of the commercial nature of the sex acts. The cash

was also a necessary and required part of Epstein’s recruitment of Jane Doe 1 and

other victims of his sex-trafficking venture. By providing cash that Deutsche Bank

knew would be used to fund the sex trafficking venture, Deutsche Bank actively

participated in the recruitment of victims of the venture.

      320. The cash that Deutsche Bank provided went far beyond providing

routine banking facilities to a client. It was far from routine for Deutsche Bank to

provide $200,000 per year in cash to someone like Epstein, who did not have an

apparent need for such extravagant sums. Moreover, the circumstances in which

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Epstein was requesting such large amounts were far from routine and raised

numerous “red flags”—taking it well outside routine circumstances.

      321. Deutsche Bank providing $200,000 per year in cash to Epstein, under

the circumstances of this case, was entirely inconsistent with the ordinary duties of

a bank or its employees.

      322. The reason that Deutsche Bank ignored the numerous red flags about

Epstein was to receive financial benefits from Epstein, estimated to be in the range

of (at least) “$2-4 million annually.” Deutsche Bank knew that it would gain far-

from-routine financial benefits by ignoring the red flags associated with Epstein and

by participating in his sex-trafficking venture.

      323. Among the concrete steps that Deutsche Bank took to aid and

participate in the Epstein sex-trafficking venture were opening up more than 40

accounts at Deutsche Bank for Epstein, his related entities, and associates. By

opening these accounts, Deutsche Bank receive many benefits from participating in

Epstein’s venture. The opening of these accounts was affirmative conduct that

caused Deutsche Bank to receive those benefits.

      324. Among the concrete steps that Deutsche Bank took to aid the Epstein

sex-trafficking venture, between on or about August 19, 2013, and through about

July 2020, Deutsche Bank concealed its delivery of hundreds of thousands of dollars

in cash to Epstein and his associates. In order to benefit from the Epstein sex-

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trafficking venture, Deutsche Bank willfully failed to file required Suspicious

Activity Reports (SARs) with the federal government, because doing so would

imperil its ability to profit from the sex-trafficking venture. Deutsche Bank’s

concealment of the cash transactions caused it to receive financial benefits through

continuation of the Epstein sex-trafficking venture.

      325. Among the concrete steps that Deutsche Bank took to aid the Epstein

sex-trafficking venture were its failure to implement oversight requirements

imposed by the ARRC. This failure was not just passive facilitation, but a deliberate

omission by Deutsche Bank. This omission was specific act of concealment, which

allowed Epstein to continue funding his sex-trafficking venture through suspicious

transactions that would have otherwise been prevented.

      326. Deutsche Bank knowingly and intentionally benefited financially from,

and received value for, its participation in the sex-trafficking venture, in which

Epstein, with Deutsche Bank’s knowledge, or its reckless disregard of the fact, that

Epstein would use means of force, threats of force, fraud, coercion, and a

combination of such means to cause Jane Doe 1, as well as other Class Members,

some of whom were under the age of eighteen, to engage in commercial sex acts.

      327. Deutsche Bank actually knew that it was participating in a particular

sex-trafficking venture—i.e., the Epstein sex-trafficking venture outlined above.

Deutsche Bank’s knowledge went far beyond having an abstract awareness of sex

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trafficking in general. Indeed, Deutsche Bank discussed internally Epstein’s sex

trafficking and the large amounts of cash that Deutsche Bank was giving him. Thus,

Deutsche Bank did not simply fail to adequately detect signs of Epstein’s sex

trafficking; it did detect multiple signs of Epstein’s sex-trafficking venture and

continued to participate in the venture. Deutsche Bank knew that the venture was

on-going, which was why Epstein required vast sums of cash.

      328. Deutsche Bank’s actions extend well beyond a situation of failing to

train its staff about recognizing the warning signs of sex trafficking. Deutsche

Bank’s employees did recognize the signs of Epstein’s sex trafficking. Indeed,

Deutsche Bank’s employees knew about Epstein’s sex-trafficking venture. But

Deutsche Bank decided to continue facilitating the Epstein sex-trafficking venture

rather than ending its participation in the venture.

      329. Among the signs that Deutsche Bank was facilitating Epstein’s sex

trafficking venture were those facts that came to the attention of Deutsche Bank’s

Anti-Financial Crime Department at the end of 2014 and into 2015, which caused

the Department to escalate issues regarding Epstein’s sex-trafficking venture to more

senior levels.

      330. Among the signs that Deutsche Bank was facilitating Epstein’s sex

trafficking venture were those facts that came to the attention of Deutsche Bank were

those facts that came to its attention that led to an in-person meeting by Deutsche

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Bank officials with Epstein in the bar in the basement of his New York home. While

Epstein appears to have denied sex trafficking at that meeting, in light of all the

circumstances, his denial was not credible—and Deutsche Bank knew that they were

not credible.

      331. Deutsche Bank’s actual knowledge extended to the fact that specific

individual women and girls were being coercively sex trafficked by Epstein between

the time of his on-boarding and the termination of its relationship with Epstein. Even

if Deutsche Bank did not know all the names of Epstein’s victims, it knew that

specific victims (e.g., Jane Doe 1) of a specific trafficker (Epstein) at a specific time

period (various dates between 2013–19) existed and were being forced to engage in

commercial sex acts. It also knew that some of the victims had eastern European

surnames. Deutsche Bank was on notice, and knew, that such victims were being

coercively trafficked by Epstein’s sex-trafficking venture.

      332. Deutsche Bank helped to conceal the names of Epstein’s victims from

the public and from law enforcement and prosecuting agencies by helping to conceal

the existence of the sex-trafficking venture. Among the ways in which Deutsche

Bank helped to conceal the venture’s existence was by providing the cash necessary

for the venture to avoid leaving a visible “paper trail.”

      333. Deutsche Bank’s concealment included failing to follow through on

enhanced monitoring of Epstein’s accounts recommended by the ARRC. Deutsche

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Bank failed to implement that enhanced monitoring specifically to help conceal

Epstein’s ongoing sex-trafficking. Deutsche Bank knew that if it implemented that

enhanced monitoring, it would have to stop providing Epstein with the cash needed

to run his sex-trafficking venture.

      334. Deutsche Bank’s concealment included failing to file required SARs

for Epstein’s suspicious cash transactions.

      335. In addition to having actual knowledge that it was participating in

Epstein’s sex trafficking venture, Deutsche Bank had constructive knowledge that it

was participating in Epstein’s sex trafficking venture. Deutsche Bank also had

constructive knowledge that Jane Doe 1, as well as other Members of the Class, were

being coercively sex trafficked by Epstein. Its constructive knowledge extended to

the names of Epstein’s victims, because Epstein and his associates knew the names

of the victims.

      336. Deutsche Bank had constructive knowledge of Epstein’s sex-

trafficking venture because of specific acts by Epstein that put it on notice of a

particular and ongoing sex trafficking venture. Among the specific acts were

Epstein’s use of $200,000 per year in cash in circumstances that prompted Deutsche

Bank to specifically ask Epstein about sex-trafficking.

      337. Also among the specific acts giving rise to constructive knowledge

were the facts that an associate of Epstein (his attorney) made a total of 97

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withdrawals from the Bank’s Park Avenue branch, all in the amount of $7,500,

Deutsche Bank’s limit for third-party withdrawals. The circumstances of these

withdrawals gave the bank notice that “structuring” was occurring to avoid alerting

federal authorities.

      338. Also among the specific acts giving rise to constructive knowledge

were the facts that came to the attention of Deutsche Bank’s Anti-Financial Crime

Department at the end of 2014 and into 2015, which caused the Department to

escalate issues concerning Epstein’s sex-trafficking venture to more senior

management.

      339. Among the financial benefits that the Deutsche Bank received for

participating in and facilitating Epstein’s sex-trafficking venture were the deposit of

funds that Epstein and Epstein-controlled entities made to Deutsche Bank. Deutsche

Bank profited from the use of these deposits. Epstein and Epstein-controlled entities

deposited these funds in exchange for Deutsche Bank’s facilitation and participation

in the sex trafficking venture, including its willingness to provide large amounts of

cash in suspicious circumstances and to allow “structuring” of withdrawals to avoid

triggering reporting requirements.

      340. Among the financial benefits that Deutsche Bank received for

participating in Epstein’s sex-trafficking venture was referral of business

opportunities from Epstein and his co-conspirators. Deutsche Bank profited from

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these referred business opportunities. Epstein referred business entities and business

opportunities to Deutsche Bank in exchange for its facilitation and participation in

the sex trafficking venture. These referrals were a quid pro quo for Deutsche Bank’s

participation in the sex-trafficking venture.

      341. Deutsche Bank financially profited from the deposits made by Epstein

and Epstein-controlled entities and from the business opportunities referred to

Deutsche Bank by Epstein in exchange for its facilitation and participation in

Epstein’s sex trafficking venture.

      342. Deutsche Bank knowingly received financial benefits in return for its

assistance, support, and facilitation of Epstein’s sex-trafficking venture. Deutsche

Bank knew that if it stopped providing assistance, support, and facilitation of

Epstein’s sex-trafficking venture, it would no longer receive those benefits.

      343. Deutsche Bank knew, and was in reckless disregard of the fact, that it

was Epstein’s pattern and practice to use the channels and instrumentalities of

interstate and foreign commerce, to entice, recruit, solicit, harbor, provide, obtain,

and transport young women and underage girls for purposes of causing commercial

sex acts, in violation of 18 U.S.C. § 1591(a).

      344. Deutsche Bank and its employees had actual knowledge that they were

facilitating Epstein’s sexual abuse and sex trafficking conspiracy to recruit, solicit,

entice, coerce, harbor, transport, obtain and provide Jane Doe 1 as well as other

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Members of the Class, into commercial sex acts, through the means of force, threats

of force, fraud, abuse of process, and coercion.

      345. Deutsche Bank’s affirmative conduct was committed knowing, and in

reckless disregard of the fact, that Epstein would use cash and financial supported

provided by Deutsche Bank as a means of defrauding, forcing, and coercing sex acts

from Jane Doe 1 as well as other Members of the Class. Deutsche Bank’s conduct

was outrageous and intentional.

      346. In addition to actual knowledge that it was participating in and

facilitating the Epstein sex-trafficking venture, Deutsche Bank also should have

known that (and was willfully blind to the fact that) it was participating in and

facilitating a venture that had engaged in coercive sex trafficking, as covered by 18

U.S.C. § 1595(a).

      347. In exchange for facilitating and covering up Epstein’s commercial sex

trafficking, Deutsche Bank’s officers and employees advanced in their careers at

Deutsche Bank and received financial benefits therefrom by securing the Deutsche

Bank-Epstein relationship.

      348. Facilitating and covering up Epstein’s sexual trafficking and

misconduct was a means of obtaining economic success and promotion within the

Deutsche Bank hierarchy.

      349. Deutsche Bank’s actions were in and affecting interstate and foreign

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commerce, including its banking activities which were in and affecting interstate and

foreign commerce.

      350. Deutsche Bank’s knowing and intentional conduct has caused Jane Doe

1 and the other Members of the Class serious harm including, without limitation,

physical, psychological, emotional, financial, and reputational harm.

      351. Deutsche Bank’s knowing and intentional conduct has caused Jane Doe

1 and the other Members of the Class harm that is sufficiently serious, under all the

surrounding circumstances, to compel a reasonable person of the same background

and in the same circumstances to perform or to continue performing commercial

sexual activity, in order to avoid incurring that harm.

      352. This case does not involve mere fraud. Instead, Deutsche Bank’s

criminal conduct in violating the TVPA was outrageous and intentional, because it

was in deliberate furtherance of a widespread and dangerous criminal sex trafficking

organization. Deutsche Bank’s criminal conduct also evinced a high degree of moral

turpitude and demonstrated such wanton dishonesty as to imply a criminal

indifference to civil obligations. Deutsche Bank’s criminal conduct was directed

specifically at Jane Doe 1 and other members of the Class, who were the victims of

Epstein’s sexual abuse and sex trafficking organization.

      353. Deutsche Bank’s outrageous and intentional conduct in this case is part

of a pattern and practice of Deutsche Bank profiting by undertaking illegal “high

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risk, high reward” clients.

      354. By virtue of these knowing and intentional violations of 18 U.S.C. §§

1591(a)(2), 1595, Deutsche Bank is liable to Jane Doe 1 and the other Members of

the Class for the damages they sustained and reasonable attorneys’ fees.

      355. By virtue of these intentional and outrageous violations of 18 U.S.C. §§

1591(a)(2), 1595, Deutsche Bank is liable to Jane Doe 1 and other members of the

Class for punitive damages.

                           COUNT II
 PARTICIPATING IN A SEX-TRAFFICKING VENTURE IN VIOLATION
       OF THE TRAFFICKING VICTIMS PROTECTION ACT,
                   18 U.S.C. §§ 1591(a)(1), 1595

      356. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

      357. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      358. Deutsche Bank knowingly and intentionally participated in,

perpetrated, assisted, supported, facilitated a sex-trafficking venture that was in and

affecting interstate and foreign commerce, together and with others, in violation of

18 U.S.C. § 1591(a)(1).

      359. Among other things, Deutsche Bank knowingly and intentionally

recruited, enticed, provided, obtained, advertised, and solicited by various means

Jane Doe 1, as well as other Class Members, knowing that Epstein would use means
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of force, threats of force, fraud, coercion, and a combination of such means to cause

Jane Doe 1, as well as other Class Members, some of whom were under the age of

eighteen, to engage in commercial sex acts.

      360. Deutsche Bank and its employees had actual knowledge that they were

perpetrating and facilitating Epstein’s sexual abuse and sex trafficking conspiracy to

recruit, solicit, entice, coerce, harbor, transport, obtain, and provide Jane Doe 1 as

well as other Members of the Class, into commercial sex acts, through the means of

force, threats of force, fraud, abuse of process, and coercion.

      361. Despite such knowledge, Deutsche Bank intentionally paid for,

facilitated, perpetrated, and participated in Epstein’s violations of 18 U.S.C. §

1591(a)(1), which Deutsche Bank knew, and were in reckless disregard of the fact

that, Epstein would coerce, defraud, and force Jane Doe 1, as well as other Members

of the Class, to engage in commercial sex acts.

      362. Deutsche Bank’s actions were in and affecting interstate and foreign

commerce, including its banking activities which were in and affecting interstate and

foreign commerce.

      363. By taking the concrete steps alleged in this complaint, Deutsche Bank

knowingly participated in sex trafficking and furthered the Epstein sex-trafficking

venture. The concrete steps constituted taking part in the sex-trafficking venture and

were necessary for its success. The concrete steps constituted active engagement by

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Deutsche Bank in Epstein’s sex-trafficking venture. Deutsche Bank knew that its

active engagement would lead to and cause coercive commercial sex-trafficking.

      364. As part of perpetrating TVPA violations, between on or about August

19, 2013, and through about July 2020, Deutsche Bank concealed its delivery of

hundreds of thousands of dollars in cash to Epstein and his associates.

      365. As part of perpetrating TVPA violations, Deutsche Bank also willfully

failed to file required SARs with the federal government.

      366. Deutsche Bank’s affirmative conduct was committed knowing, and in

reckless disregard of the facts, that Epstein would use cash and the financial support

provided by Deutsche Bank as a means of defrauding, forcing, and coercing sex acts

from Jane Doe 1 as well as other Members of the Class. Deutsche Bank’s conduct

was outrageous and intentional.

      367. Deutsche Bank’s knowing and intentional conduct has caused Jane Doe

1 and the other Members of the Class serious harm including, without limitation,

physical, psychological, emotional, financial, and reputational harm.

      368. Deutsche Bank’s knowing and intentional conduct has caused Jane Doe

1 and the other Members of the Class harm that is sufficiently serious, under all the

surrounding circumstances, to compel a reasonable person of the same background

and in the same circumstances to perform or to continue performing commercial

sexual activity, in order to avoid incurring that harm.

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      369. This case does not involve mere fraud. Instead, Deutsche Bank’s

criminal conduct in perpetrating TVPA violations was outrageous and intentional,

because it was in deliberate furtherance of a widespread and dangerous criminal sex

trafficking organization. Deutsche Bank’s criminal conduct also evinced a high

degree of moral turpitude and demonstrated such wanton dishonesty as to imply a

criminal indifference to civil obligations. Deutsche Bank’s criminal conduct was

directed specifically at Jane Doe 1 and other members of the Class, who were the

victims of Epstein’s sexual abuse and sex trafficking organization.

      370. Deutsche Bank’s outrageous and intentional conduct in this case is part

of a pattern and practice of Deutsche Bank profiting by undertaking illegal “high

risk, high reward” clients.

      371. By virtue of these knowing and intentional violations of 18 U.S.C. §§

1591(a)(1), 1595, Deutsche Bank is liable to Jane Doe 1 and the other Members of

the Class for the damages they sustained and reasonable attorneys’ fees.

      372. By virtue of these intentional and outrageous violations of 18 U.S.C. §§

1591(a)(1), 1595, Deutsche Bank is liable to Jane Doe 1 and other members of the

Class for punitive damages.

                           COUNT III
AIDING, ABETTING, AND INDUCING A SEX-TRAFFICKING VENTURE
IN VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION ACT,
               18 U.S.C. §§ 2, 1591(a)(1) & (2), 1595

      373. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs
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1 – 314, as if fully set forth in this Count.

      374. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      375. Deutsche Bank aided, abetted, and induced Epstein’s sex-trafficking

venture that was in and affecting interstate and foreign commerce, together and with

others, in violation of 18 U.S.C. §§ 2, 1591(a)(1) & (a)(2).

      376. The crimes that Deutsche Bank aided and abetted are (1) Epstein’s

perpetrating of coercive sex trafficking, in violation of 18 U.S.C. § 1591(a)(1), and

(2) Epstein’s co-conspirators’ knowingly benefitting from coercive sex trafficking,

in violation of 18 U.S.C. § 1591(a)(2). These crimes were in and affecting interstate

and foreign commerce.

      377. Epstein’s co-conspirators benefitted financially and received things of

value from their participation in the Epstein sex-trafficking venture, including

payments and other compensation from Epstein. The co-conspirators who benefitted

financially include Attorney-1, Accountant 1, Ghislaine Maxwell, Lesley Groff,

Sarah Kellen, Adriana Ross, and Nadia Marcinkova.

      378. Under 18 U.S.C. § 2, Deutsche Bank is punishable as a principal under

18 U.S.C. §§ 1591(a)(1) & (a)(2) and thereby committed and perpetrated violations

of Chapter 77, Title 18, U.S. Code, when it aided, abetted, counseled, commanded,

induced, and procured Epstein’s and his co-conspirators sex-trafficking venture and

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sex trafficking of Jane Doe 1, as well as other Class Members.

      379. Under 18 U.S.C. § 2, Deutsche Bank committed and perpetrated crimes

in violation of 18 U.S.C. §§ 1591(a)(1) & (a)(2) by aiding, abetting, inducing and

procuring Epstein’s and his co-conspirator’s sex-trafficking venture and the sex

trafficking of Jane Doe 1, as well as of other Class Members. As a consequence,

Jane Doe 1, as well as other members of the Class, are victims of Deutsche Bank’s

criminally aiding, abetting, and inducing Epstein’s and his co-conspirators’

violations of 18 U.S.C. §§ 1591(a)(1) & (a)(2).

      380. Deutsche Bank itself directly committed and perpetrated violations of

Chapter 77, Title 18, U.S. Code, including 18 U.S.C. §§ 1591(a)(1) & (a)(2), by

aiding, abetting, and inducing the sex-trafficking venture and the sex trafficking of

Jane Doe 1, as well as other Class Members. Deutsche Bank itself directly violated

Chapter 77 by committing and perpetrating these violations.

      381. Among other things, Deutsche Bank aided, abetted, and induced

Epstein’s and his co-conspirators’ sex-trafficking venture and sex trafficking of Jane

Doe 1, as well as other Class Members, knowing that Epstein and his-conspirators

would use means of force, threats of force, fraud, coercion, and a combination of

such means to cause Jane Doe 1, as well as other Class Members, some of whom

were under the age of eighteen, to engage in commercial sex acts.

      382. By aiding, abetting, and inducing Epstein’s and his co-conspirators’

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sex-trafficking venture and sex trafficking of Jane Doe 1, as well as other Class

Members, Deutsche Bank knowingly benefited, both financially and by receiving

things of value, from participating in Epstein’s sex-trafficking venture.

      383. Deutsche Bank and its employees had actual knowledge that they were

aiding, abetting, and inducing Epstein’s and his co-conspirators’ sexual abuse and

sex trafficking conspiracy to recruit, solicit, entice, coerce, harbor, transport, obtain,

and provide Jane Doe 1 as well as other Members of the Class, into commercial sex

acts, through the means of force, threats of force, fraud, abuse of process, and

coercion. Deutsche Bank knew, and should have known, that Epstein had engaged

in acts in violation of the TVPA.

      384. Despite such knowledge, Deutsche Bank intentionally paid for and

aided, abetted, and induced Epstein’s violations of 18 U.S.C. §§ 1591(a)(1) & (a)(2),

which constituted perpetrating violations of those laws under 18 U.S.C. § 2.

Deutsche Bank knew, and acted in reckless disregard of the fact that, Epstein would

coerce, defraud, and force Jane Doe 1, as well as other Members of the Class, to

engage in commercial sex acts.

      385. Deutsche Bank’s affirmative conduct of aiding, abetting, and inducing

Epstein’s violations was committed knowingly, and in reckless disregard of the

facts, that Epstein would use cash and financial supported provided by Deutsche

Bank as a means of defrauding, forcing, and coercing sex acts from Jane Doe 1 as

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well as other Members of the Class. Deutsche Bank’s conduct was outrageous and

intentional.

      386. Deutsche Bank’s knowing and intentional conduct of aiding, abetting,

and inducing Epstein’s violations has caused Jane Doe 1 and the other members of

the Class serious harm including, without limitation, physical, psychological,

emotional, financial, and reputational harm.

      387. Deutsche Bank’s knowing and intentional conduct of aiding, abetting,

and inducing Epstein’s violations has caused Jane Doe 1 and the other members of

the Class harm that is sufficiently serious, under all the surrounding circumstances,

to compel a reasonable person of the same background and in the same

circumstances to perform or to continue performing commercial sexual activity, in

order to avoid incurring that harm.

      388. This case does not involve mere fraud. Instead, Defendants’ criminal

conduct in aiding, abetting, and inducing Epstein’s violations of the TVPA was

outrageous and intentional, because it was in deliberate furtherance of a widespread

and dangerous criminal sex trafficking organization. Deutsche Bank’s criminal

conduct also evinced a high degree of moral turpitude and demonstrated such wanton

dishonesty as to imply a criminal indifference to civil obligations. Deutsche Bank’s

criminal conduct was directed specifically at Jane Doe 1 and other members of the

Class, who were the victims of Epstein’s sexual abuse and sex trafficking

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organization.

      389. Deutsche Bank’s outrageous and intentional conduct in this case is part

of a pattern and practice of Deutsche Bank profiting by undertaking illegal “high

risk, high reward” clients.

      390. By virtue of these knowing and intentional violations of 18 U.S.C. §§

1591(a)(1), 1595, Deutsche Bank is liable to Jane Doe 1 and the other members of

the Class for the damages they sustained and reasonable attorneys’ fees.

      391. By virtue of these intentional and outrageous violations of 18 U.S.C. §§

1591(a)(1), 1595, Deutsche Bank is liable to Jane Doe 1 and other members of the

Class for punitive damages.

                         COUNT IV
      CONSPIRACY TO COMMIT VIOLATIONS OF THE TRAFFICKING
       VICTIM PROTECTION ACT, 18 U.S.C. §§ 1594(c), 1591, 1595

      392. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

      393. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      394. Deutsche Bank intentionally conspired with others, by agreement and

understanding, to violate 18 U.S.C. § 1591(a)(1) & (a)(2) & 1591(d), and to further

Epstein’s and his co-conspirators’ sex-trafficking venture to coerce commercial sex

acts from Jane Doe 1 and other Class Members, all in violation of 18 U.S.C. §

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1594(c). Deutsche Bank employees directly conspired with Epstein himself to

further the sex trafficking venture.

         395. Deutsche Bank’s conspiracy to violate 18 U.S.C. 1591(a)(1) & (a)(2)

was forbidden by 18 U.S.C. § 1594(c), and Deutsche Bank thereby violated Chapter

77, Title 18. Deutsche Bank’s conspiracy directly, proximately, and foreseeably

harmed Jane Doe 1, as well as other members of the Class, by directly leading to

their forcibly being caused to engage in commercial sex acts and in other ways.

Deutsche Bank’s conspiracy victimized Jane Doe 1 and the other members of the

Class.

         396. Deutsche Bank’s conspiracy to violate 18 U.S.C. 1591(d) was

forbidden by 18 U.S.C. § 1594(c), and Deutsche Bank thereby violated Chapter 77,

Title 18. Deutsche Bank’s conspiracy directly, proximately, and foreseeably harmed

Jane Doe 1, as well as other members of the Class, by directly leading to their

forcibly being caused to engage in commercial sex acts and in other ways. Deutsche

Bank’s conspiracy victimized Jane Doe 1 and the other Members of the Class.

         397. Deutsche Bank conspired with Epstein and his co-conspirators to

further the Epstein sex-trafficking venture and with the purpose of facilitating

Epstein’s illegal sex trafficking. Deutsche Bank had actual knowledge of Epstein’s

sex-trafficking venture. Deutsche Bank acted with the specific intent to violate 18

U.S.C. §§ 1591(a)(1) & (a)(2), that is, with consciousness of the nature of Epstein’s

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sex-trafficking venture and with the specific intent to further venture. Deutsche

Bank and Epstein had a meeting of the minds as to the essential nature of the plan.

      398. The Epstein sex-trafficking conspirators had a shared and common

purpose—securing young women and girls for Epstein to sexually abuse and to

commercially sex traffic. Deutsche Bank and other members of the Enterprise

associated together for this common purpose. As quid pro quo, in exchange for

working toward this common purpose, Epstein rewarded Deutsche Bank.

      399. The Epstein sex-trafficking conspiracy was an ongoing organization

with the same hierarchy and regularity of function. Epstein was at the top of the

hierarchy and effectively served as the CEO of the organization. Deutsche Bank

served as the bank for the conspiracy after around August 19, 2013. Before that time,

JP Morgan had served as the bank for the conspiracy. The sex-trafficking conspiracy

was itself in and affecting interstate and foreign commerce and involved overt acts

that were in and affecting interstate and foreign commerce.

      400. In and around August 19, 2013, Deutsche Bank purposefully joined

Epstein’s previously operation, and on-going, sex-trafficking conspiracy. It quickly

ratified the previous (from 2005 onward) actions, conduct, intentional torts, and

crimes of the conspiracy, by joining the conspiracy, adopting its goals, and taking

actions and committing overt acts in furtherance of it.

      401. Deutsche Bank’s conspiracy with Epstein was part of its participation

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in his sex-trafficking venture. Without Deutsche Bank agreeing to facilitate the

venture (by, for example, conspiring to keep the existence of cash disbursals secret),

Epstein would not have been a position to move forward with his sex-trafficking

venture.

      402. Deutsche Bank also conspired with Epstein to obstruct, attempt to

obstruct, to interfere with, and to prevent the enforcement of the TVPA, violating 18

U.S.C. § 1591(d). The conspiracy included an agreement to keep Epstein’s sex-

trafficking venture secret or, at least, concealed to the greatest extent possible.

Among the means for keeping the venture secret were paying for the commercial

sex acts in cash, structuring cash withdrawals in a way to avoid detection, and

Deutsche Bank’s failing to timely file SARs of Epstein’s suspicious activities.

      403. Further actions regarding Deutsche Bank’s conspiracy to obstruct

TVPA enforcement are outlined in Count VI (obstruction) below in paragraphs 445-

59, which are hereby incorporated by reference as if set forth in full in this Count.

      404. Within this District, Deutsche Bank intentionally committed overt acts

in furtherance of the conspiracy, agreement, and understanding to violate 18 U.S.C.

§ 1591(a) by knowingly playing an active role in assisting, supporting, and

facilitating the recruiting, enticing, coercing, harboring, transporting, and inducing

and forcibly causing Jane Doe 1 and other Class Members to engage in commercial

sex acts, through providing financial support for the Epstein sex-trafficking venture.

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       405. Among the many overt acts intentionally committed by Deutsche Bank

in furtherance of the long-running Epstein sex-trafficking venture were creating and

maintaining a special and unusual financial relationship between Deutsche Bank and

Epstein within this District designed to facilitate Epstein’s sex-trafficking.

       406. Acting within this District and in furtherance of the Epstein sex-

trafficking venture, on or about August 19, 2013, Deutsche Bank opened brokerage

accounts for Southern Trust Company Inc., an Epstein-related company. Deutsche

Bank knew, and should have known, that opening this account would facilitate

Epstein’s sex trafficking.

       407. In furtherance of the Epstein sex-trafficking venture, between on or

about August 19, 2013, and through about 2018, Deutsche Bank opened about 40

accounts for Epstein, his related entities, and associates. The accounts were in and

affecting interstate and foreign commerce. The accounts were opened within this

District.

       408. In furtherance of the Epstein sex-trafficking venture, between on or

about August 19, 2013, and through about July 2020, Deutsche Bank concealed its

delivery of hundreds of thousands of dollars in cash to Epstein and his associates.

Among its affirmative acts of concealment, Deutsche Bank willfully failed to timely

file required SARs with the federal government.

       409. Deutsche Bank’s continued to participate in the conspiracy through

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about July 2020, when it entered into a consent decree with New York banking

regulators and admitted some of its actions.

        410. Deutsche Bank deliberately and purposely omitted to timely file

appropriate SARs about Epstein’s cash transactions, wrongful omissions that were

actions in furtherance of its conspiracy.

        411. Deutsche Bank also deliberately concealed its knowledge about how JP

Morgan had previously acted in furtherance in the Epstein’s conspiracy.

        412. Deutsche Bank’s actions in furtherance of Epstein’s conspiracy were

intertwined with Epstein’s sex-trafficking venture, as the funding for the sex-

trafficking venture (and particularly cash for the venture) were essential tools for

Epstein to commit coercive commercial sex acts.

        413. It was part of the conspiracy that Deutsche Bank would financially

benefit from providing financial support for the Epstein sex-trafficking venture.

Deutsche Bank did financially benefit from its participation in the venture, including

receiving valuable deposits from Epstein and Epstein-related entities into Deutsche

Bank.

        414. Deutsche Bank’s participation in furthering Epstein’s sex-trafficking

venture was intentional and willful and, therefore, Deutsche Bank intentionally and

willfully caused Epstein’s commission of the forcible commercial sex acts with Jane

Doe 1 and other Class Members through its affirmative and overt acts supporting

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Epstein.

      415. Deutsche Bank knew, acted in reckless disregard of the fact, and should

have known, that its conspiracy would directly and proximately lead to unlawful

coercive commercial sex acts by Epstein with young women and girls, including

Jane Doe 1 and other Class Members.

      416. The conspiracy that Deutsche Bank joined had specific knowledge that

Jane Doe 1, as well as other Members of the Class, were being coercively sex

trafficked by Epstein. The conspiracy’s knowledge extended to the names of

Epstein’s victims, because Epstein and his co-conspirators knew the names of the

victims, including Jane Doe 1’s name.

      417. Deutsche Bank conspired to violate 18 U.S.C. § 1591(a) with Epstein

and through its affirmative acts and substantial support to Epstein committed,

perpetrated, and directly and proximately caused Jane Doe 1 and other Class

Members to engage in commercial sex acts through means of force, threats of force,

fraud, coercion, and a combination of such means.

      418. In addition to acting with knowledge that they were conspiring to

support the Epstein sex-trafficking venture, Deutsche Bank benefited financially

from conspiring to participate in the Epstein sex-trafficking venture, which Deutsche

Bank knew and should have known that had engaged in coercive sex trafficking in

violation of 18 U.S.C. § 1591(a)(1) & (a)(2).

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        419. Deutsche Bank’s conspiracy has caused Jane Doe 1 and other Class

Members serious harm, including, without limitation, physical, psychological,

financial, and reputational harm. That harm was directly and proximately caused by

the conspiracy and the harm resulting from conspiracy was foreseeable.

        420. Deutsche Bank’s conspiracy has caused Jane Doe 1 harm that is

sufficiently serious, under all the surrounding circumstances, to compel a reasonable

person of the same background and in the same circumstances to perform or to

continue performing commercial sexual activity in order to avoid incurring that

harm.

        421. This case does not involve mere fraud. Instead, Deutsche Bank’s

criminal conduct in conspiring to violate the TVPA was outrageous and intentional,

because it was in deliberate furtherance of a widespread and dangerous criminal sex

trafficking organization. Deutsche Bank’s conspiracy also evinced a high degree of

moral turpitude and demonstrated such wanton dishonesty as to imply a criminal

indifference to civil obligations.    Deutsche Bank’s conspiracy was directed

specifically at Jane Doe 1 and other Class Members, who were the victims of

Epstein’s sex trafficking organization.

        422. By virtue of these violations of 18 U.S.C. §§ 1594(c), 1595, Deutsche

Bank is liable to Jane Doe 1 and the other Class Members for the damages they

sustained and reasonable attorneys’ fees.

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      423. By virtue of its intentional and outrageous conspiracy to violate 18

U.S.C. §§ 1594(c), 1595, Deutsche Bank is liable to Jane Doe 1 and other Class

Member for punitive damages.

                       COUNT V
ATTEMPT TO COMMIT VIOLATIONS OF THE TRAFFICKING VICTIM
        PROTECTION ACT, 18 U.S.C. §§ 1594(a), 1591, 1595

      424. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

      425. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      426. Deutsche Bank intentionally attempted to violate 18 U.S.C. §

1591(a)(1) & (a)(2), and to further Epstein’s sex-trafficking venture to coerce

commercial sex acts from Jane Doe 1 and other Class Members, all in violation of

18 U.S.C. § 1594(a).

      427. Deutsche Bank employees deliberately took substantial steps to attempt

to violate 18 U.S.C. § 1591(a)(1) & (a)(2) within this District, from around 2013

through around July 2020.

      428. Deutsche Bank deliberately took substantial steps toward attempting to

violate 18 U.S.C. § 1591(a), by providing substantial financial support for the

Epstein sex-trafficking venture. The financial support included hundreds of

thousands of dollars in cash. This support was in and affecting interstate and foreign

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commerce.

      429. Among the many substantial steps taken by Deutsche Bank to

deliberately attempt to violate 18 U.S.C. § 1591(a) were creating a special and

unusual financial relationship between Deutsche Bank and Epstein within this

District that was designed to, and did, facilitate Epstein’s sex-trafficking venture and

the sex trafficking of Jane Doe 1, as well as other Members of the Class.

      430. Acting within this District and in attempting to further the Epstein sex-

trafficking venture, on or about August 19, 2013, Deutsche Bank opened brokerage

accounts for Southern Trust Company Inc., an Epstein-related company. These

accounts were in and affecting interstate and foreign commerce.

      431. In attempting to further the Epstein sex-trafficking venture, between on

or about August 19, 2013, and through about 2018, Deutsche Bank opened about 40

accounts for Epstein, his related entities, and associates. The accounts were in and

affecting interstate and foreign commerce. Deutsche Bank opened the accounts

within this District for the purpose of facilitating Epstein’s sex-trafficking venture.

      432. In opening 40 accounts for Epstein, his related entities, and associates,

Deutsche Bank took a substantial step toward benefitting from participating in

Epstein’s sex-trafficking venture. Deutsche Bank also took other substantial,

concrete steps toward benefits from the venture.

      433. It was part of the attempt to violate 18 U.S.C. 1591(a) that Deutsche

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Bank would financially benefit from providing financial support for the Epstein sex-

trafficking venture. Deutsche Bank did financially benefit from its participation in

the venture, including receiving valuable deposits from Epstein and Epstein-related

entities into Deutsche Bank.

      434. Deutsche Bank’s attempt to violate the TVPA by furthering Epstein’s

sex-trafficking venture was intentional and willful and, therefore, Deutsche Bank

intentionally and willfully caused Epstein’s commission of sexual abuse and

commercial sex acts with Jane Doe 1 and other Class Members through its

affirmative and overt acts supporting Epstein.

      435. Deutsche Bank knew and acted in reckless disregard of the fact, that its

acts and conduct attempting to support and facilitate Epstein would lead to sexual

abuse and unlawful coercive commercial sex acts by Epstein with young women and

girls, including Jane Doe 1 and other Class Members.

      436. In addition to acting intentionally and with knowledge that they were

supporting the Epstein sex-trafficking venture, Deutsche Bank benefited financially

from attempting to participate in the Epstein sex-trafficking venture which Deutsche

Bank should have known that had engaged in coercive sex trafficking in violation of

18 U.S.C. § 1591(a)(1).

      437. This case does not involve mere fraud. Instead, Defendants’ criminal

conduct in attempting to violate the TVPA was outrageous and intentional, because

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it was a deliberate attempt to further the crimes of a widespread and dangerous

criminal sex trafficking organization. Deutsche Bank’s criminal attempts also

evinced a high degree of moral turpitude and demonstrated such wanton dishonesty

as to imply a criminal indifference to civil obligations. Deutsche Bank’s criminal

attempt was directed specifically at Jane Doe 1 and other members of the Class, who

were the victims of Epstein’s sex trafficking organization.

      438. Deutsche Bank’s conduct has caused Jane Doe 1 and other Class

Members serious harm, including, without limitation, physical, psychological,

financial, and reputational harm. This harm was a direct, proximate, and foreseeable

result of Deutsche Bank’s attempt in violation of 18 U.S.C. § 1594(a).

      439. By virtue of these violations of 18 U.S.C. §§ 1594(a), 1595(a),

Deutsche Bank is liable to Jane Doe 1 and the other Members of the Class for the

damages they sustained and reasonable attorneys’ fees.

      440. By virtue of its intentional and outrageous attempt to violate 18 U.S.C.

§§ 1594(a), 1595, Deutsche Bank is liable to Jane Doe 1 and other members of the

Class for punitive damages.

                        COUNT VI
   OBSTRUCTION OF THE ENFORCEMENT OF THE TRAFFICKING
          VICTIM PROTECTION ACT, 18 U.S.C. § 1591(d)

      441. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

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      442. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      443. Deutsche Bank and its employees knowingly and intentionally

obstructed, attempted to obstruct, interfered with, and prevented the enforcement of

18 U.S.C. §§ 1591(a)(1) & (a)(2), all in violation of 18 U.S.C. § 1591(d). This

activity is hereinafter referred to collectively simply as “obstruction.”        The

obstruction occurred from around 2013 to around July 2020.

      444. Deutsche Bank’s obstruction of the enforcement of 18 U.S.C. §§

1591(a)(1) and (a)(2) was forbidden by 18 U.S.C. § 1591(d), and Deutsche Bank

thereby violated Chapter 77, Title 18. Deutsche Bank’s obstruction described in the

preceding paragraph directly, proximately, and foreseeably harmed Jane Doe 1, as

well as other members of the Class, by directly resulting in them coercively being

caused to engage in commercial sex acts and in other ways. These actions were in

and affecting interstate and foreign commerce, including the substantial sums of

currency which affected interstate and foreign commerce.

      445. As alleged in the fact section of this Complaint, the United States

Department of Justice (including the U.S. Attorney’s Office for the Southern District

of New York and the U.S. Attorney’s Office for the Southern District of Florida)

was investigating Epstein’s federal criminal liability for violating (among other

laws) the TVPA up to and following the return of an indictment against Epstein on

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or about July 8, 2019. On or about that date, the U.S. Attorney’s Office for the

Southern District of New York indicted Epstein (and unnamed “associates”) for

violating the TVPA. Later, on about June 29, 2020, the same Office indicted

Epstein’s co-conspirator, Ghislaine Maxwell, for conspiracy to entice minor victims

to travel to be abused by Epstein. The federal criminal investigation of Maxwell

included investigation of possible violations of the TVPA.

        446. By providing and concealing financing for Epstein’s sex trafficking

organization from about August 2013 through about July 2020, Deutsche Bank

obstructed, interfered with, and prevented the federal government’s enforcement of

the TVPA against Epstein. To the extent that the federal government was able to

ultimately charge Epstein with TVPA violations, the filing of those charges was

delayed by Deutsche Bank’s actions. Because of that delay, Jane Doe 1 as well as

other members of the Class, were coercively caused to engage in commercial sex

acts.

        447. As one example of how Deutsche Bank obstructed, attempted to

obstruct, interfered with, and prevented the federal government’s enforcement of the

TVPA, Deutsche Bank provided large amounts of cash (about $200,000 per year) to

Epstein and his associates so that the coercive commercial sex acts would escape the

detection of federal law enforcement and prosecuting agencies. Deutsche Bank

provided large amounts of cash to further the Epstein sex-trafficking venture and

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with the purpose of helping Epstein evade criminal liability for violating the TVPA.

      448. As another example of how Deutsche Bank obstructed, attempted to

obstruct, interfered with, and prevented the federal government’s enforcement of the

TVPA, Deutsche Bank did not follow conditions imposed by the ARRC in around

January 2015. These conditions included a requirement that Deutsche Bank would

review transactions in the Epstein’s Deutsche Bank accounts for a determination of

whether they “involve[d] any unusual and/or suspicious activity or are in a size that

is unusually significant or novel in structure.” If Deutsche Bank had observed these

conditions, then it would have prevented many of the subsequent transactions

committed by the Epstein sex-trafficking venture. Deutsche Bank knowingly did

not observe these conditions because it knew that doing so would have prevented

Epstein’s secret cash transactions that were necessary to his sex-trafficking operation

escaping knowledge of federal investigative and prosecuting agencies. Without

Deutsche Bank’s cash, Jane Doe 1, as well as other members of the Class, would not

have been coercively forced to engage in commercial sex act.

      449. As another example of how Deutsche Bank obstructed, attempted to

obstruct, interfered with, and prevented the federal government’s enforcement of the

TVPA, Deutsche Bank failed to timely file with the federal government the required

SARs that financial institutions must file with FinCEN whenever there is a suspected

case of money laundering or fraud. Timely filing of these reports is required by the

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Bank Secrecy Act and related laws and regulations. These reports are tools that the

federal government uses to detect and prosecute, among other illegal activities, sex

trafficking in violation of the TVPA. By failing to timely file the required SARs

regarding Epstein’s cash transactions, Deutsche Bank obstructed, attempted to

obstruct, interfered with, and prevented the federal government’s enforcement of the

TVPA by concealing from the federal government’s attention Epstein’s cash

transaction in aid of sex trafficking.

      450. Deutsche Bank can disclose its failure to file appropriate SARs without

disclosing the existence of an SAR. Deutsche Bank is not protected from liability

for failure to file a required SAR.

      451. Deutsche Bank’s failure to timely file SARs about Epstein’s sex-

trafficking venture, in spite of numerous red flags, was wrongful and purposeful.

      452. If Deutsche Bank had filed timely required SARs about Epstein’s sex-

trafficking venture with the federal government, the appropriate federal agencies

would have been well positioned to investigate Epstein’s sex-trafficking venture’s

TVPA violations.      Deutsche Bank’s failure to timely file the required SARs

obstructed the federal government’s ability to investigate those TVPA violations,

including violations harming Jane Doe 1 and other Class Members. If Deutsche

Bank had timely filed the required SARs, it would have prevented the continuation

of Epstein’s sex trafficking venture, which required the ability to secretly use cash

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to pay off victims.

       453. By providing large amounts of cash (about $200,000 per year) to

Epstein and his associates, Deutsche Bank intended and knew that Epstein’s coercive

commercial sex acts would escape the detection of federal law enforcement and

prosecuting agencies for some period of time. Deutsche Bank provided large

amounts of cash to further the Epstein sex-trafficking venture and with the purpose

of helping Epstein evade criminal liability for violating the TVPA.

       454. Deutsche Bank’s obstruction, attempted obstruction, interference with,

and prevention of the enforcement of the TVPA were all done intentionally and

knowingly. For example, Deutsche Bank knew that Epstein was “high risk”—

specifically, high risk to violate the TVPA through continuing criminal sex

trafficking activities.

       455. Deutsche Bank was well aware that Epstein had pleaded guilty and

served prison time for engaging in sex with a minor—a crime closely connected with

sex trafficking in violation of the TVPA. Deutsche Bank was also well aware that

there were public allegations that his illegal conduct was facilitated by several named

co-conspirators. But Deutsche Bank concealed from the federal government its

numerous cash payments to those co-conspirators. Deutsche Bank continued its

affirmative conduct of providing cash to Epstein so that he could make those cash

payments to his co-conspirators with knowledge that such cash transaction did not

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produce a clear paper trail.    Deutsche Bank’s intentional conduct obstructed,

attempted to obstruct, in many ways interfered with, and prevented the enforcement

of the TVPA by federal investigators and prosecuting agencies.

      456. Deutsche Bank’s relationship with Epstein in providing to him

$200,000 in cash per year went far beyond a normal (and lawful) banking

relationship. Deutsche Bank knew, and intended, that its relationship with Epstein

would go far beyond a normal banking relationship. Deutsche Bank knew that its

decision to beyond a normal banking relationship with Epstein obstructed the ability

of federal law enforcement and prosecuting agencies to enforce the TVPA.

      457. Deutsche Bank’s obstruction continued through around July 2020, as it

was not until that time that Deutsche Bank entered into its consent agreement with

New York banking regulators.

      458. Deutsche Bank’s obstruction of the federal government’s TVPA and

other law enforcement efforts was intentional and willful and, therefore, Deutsche

Bank intentionally and willfully caused Epstein’s commission of the forcible

commercial sex acts with Jane Doe 1 and other Class Members through its

obstruction supporting the concealment of Epstein’s sex-trafficking venture.

      459. Deutsche Bank knew, acted in reckless disregard of the fact, and should

have known, that its obstruction in violation of 18 U.S.C. § 1591(d) would directly

and proximately lead to unlawful coercive commercial sex acts by Epstein with

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young women and girls, including Jane Doe 1 and other Class Members.

        460. Deutsche Bank’s obstruction has caused Jane Doe 1 and other Class

Members serious harm, including, without limitation, physical, psychological,

financial, and reputational harm. That harm was directly and proximately caused by

the obstruction and the harm resulting from obstruction was foreseeable.

        461. Deutsche Bank’s obstruction has caused Jane Doe 1 harm that is

sufficiently serious, under all the surrounding circumstances, to compel a reasonable

person of the same background and in the same circumstances to perform or to

continue performing commercial sexual activity in order to avoid incurring that

harm.

        462. This case does not involve mere fraud. Instead, Deutsche Bank’s

criminal conduct in obstructing enforcement of the TVPA was outrageous and

intentional, because it was in deliberate furtherance of a widespread and dangerous

criminal sex trafficking organization. Deutsche Bank’s obstruction also evinced a

high degree of moral turpitude and demonstrated such wanton dishonesty as to imply

a criminal indifference to civil obligations. Deutsche Bank’s obstruction was

directed specifically at Jane Doe 1 and other members of the Class, who were the

victims of Epstein’s sex trafficking organization.

        463. By virtue of these violations of 18 U.S.C. § 1591(d), Deutsche Bank is

liable to Jane Doe 1 and the other Members of the Class for the damages they

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sustained and reasonable attorneys’ fees by operation of 18 U.S.C. § 1595. Deutsche

Bank perpetrated an obstruction of the TVPA, and therefore perpetrated a violation

of Chapter 77, Title 18.

      464. By virtue of its intentional and outrageous obstruction to prevent

enforcement of the TVPA, in violation 18 U.S.C. § 1591(d), Deutsche Bank is liable

to Jane Doe 1 and other members of the Class for punitive damages by operation of

18 U.S.C. § 1595.

                            COUNT VII
             VIOLATIONS OF RICO, 18 U.S.C. §§ 1962(c), 1964(c)

      465. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

      466. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      467. From around August 2013 through around July 2020, Deutsche Bank

violated RICO, 18 U.S.C. § 1962(c), within this District and elsewhere, for which

Jane Doe 1 and the other Class Members are entitled to recover damages under 18

U.S.C. § 1964(c). Deutsche Bank and others acting in concert with them as part of

the aforementioned enterprise engaged in a pattern of racketeering activity within

the meaning of RICO, 18 U.S.C. §1961(5), when they committed two or more

separate acts constituting a pattern of racketeering activity, the last of which

occurred within ten years after the commission of a prior act of racketeering activity.
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Specifically, Deutsche Bank and others in the Enterprise committed multiple acts in

violation of 18 U.S.C. § 1962(c) over the course of several years from about 2013 to

about December 2018, during which time Jane Doe 1 was sexually assaulted and

sexually trafficked.

      468. Deutsche Bank’s pattern of racketeering activity extended over a

substantial period of time—i.e., during the multiple years that Deutsche Bank

financially furthered and supported the Epstein Sex Trafficking Enterprise.

      469. Deutsche Bank violated RICO, 18 U.S.C. § 1962(c), which makes it

“unlawful for any person employed by or associated with any enterprise engaged in,

or the activities of which affect, interstate or foreign commerce, to conduct or

participate, directly or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity . . . .” Deutsche Bank was associated with the

Epstein Sex-Trafficking Enterprise and conducted and participated (directly and

indirectly) in the conduct of the enterprise’s affairs by financially supporting the

Epstein sex trafficking enterprise and also engaging in a pattern of racketeering

activity as alleged above. Deutsche Bank’s actions, including its predicate acts,

directly and proximately injured Jane Doe 1 and the Class Members in their business

and property.

      1. The RICO Enterprise

      470. Deutsche Bank, along with Epstein and his employees, agents, and co-

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conspirators, was engaged in a RICO “enterprise,” which “includes any individual,

partnership, corporation, association, or other legal entity, and any union or group

of individuals associated in fact although not a legal entity.” 18 U.S.C. § 1961(3).

Deutsche Bank and others employed by or associated with it or others acting in

concert with Deutsche Bank, promoted, facilitated, financed, and otherwise

effectuated the Epstein sex-trafficking venture and Epstein’s coercive commercial

sex acts, as alleged in this complaint, and constituted an “enterprise” under the RICO

definition. This enterprise is described herein as the “Epstein Sex-Trafficking

Enterprise,” or simply the “Enterprise.” References in this complaint to the Epstein

Sex-Trafficking Venture and Epstein Sex-Trafficking Conspiracy are also

references to the Enterprise.

      471. The Epstein Sex-Trafficking Enterprise had a shared and common

purpose—securing young women and girls for Epstein to sexually abuse and to

commercially sex traffic. Deutsche Bank and other members of the Enterprise

associated together for this common purpose.

      472. The Epstein Sex-Trafficking Enterprise was an ongoing organization

with the same hierarchy and regularity of function. Epstein was at the top of the

hierarchy and effectively served as the CEO of the organization.

      473. The Epstein Sex-Trafficking Enterprise consisted of more than Epstein

and Epstein’s own employees and agents. It also included other persons, including

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Deutsche Bank’s employees and agents. The Enterprise operated together as an

association-in-fact. The persons who operated together as an association-in-fact

included, but were not limited to, Defendant Deutsche Bank, Jeffrey Epstein,

Attorney-1, Accountant-1, Ghislaine Maxwell, Sarah Kellen, Leslie Groff, Adriana

Ross, Nadia Marcinkova, Charles Packard, Patrick Harris, Paul Morris, and Jan

Ford. These individuals knew of, and agreed to, the general criminal objective of

the Epstein Sex-Trafficking Enterprise. These individuals also agreed that Deutsche

Bank would provide the funding for the enterprise and that Deutsche Bank would be

rewarded as a result.

      474. The Epstein Sex-Trafficking Enterprise had a relationship among the

associates, including a relationship among Epstein’s employees and agents and

Deutsche Bank’s employees and agents. The associates coordinated their actions to

facilitate the actions of the sex-trafficking enterprise, including ensuring that the

Enterprise had sufficient financing to pursue its purpose.

      475. The Epstein Sex-Trafficking Enterprise lasted for many years, but from

(at least) around 2013 through around July 2020, permitting the associates in the

Enterprise to successfully pursue the Enterprise’s purpose. As a result of the

longevity of the Enterprise, many young women and girls were sexually abused and

sexually trafficked by Epstein. In this way, those involved in the Enterprise helped

it achieve the common purpose.

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      476. The participation and agreement of Deutsche Bank was necessary to

allow the commission of this scheme.

      2. Nexus Between the “Deutsche Bank” and the “Enterprise”

      477. Deutsche Bank, acting through its employees and officers, participated,

directly and indirectly, in the conduct of the affairs of the Epstein Sex-Trafficking

Enterprise. Deutsche Bank’s agents, acting within the apparent scope of their

authority, participated, directly and indirectly, in the conduct of the affairs of the

Epstein Sex-Trafficking Enterprise.

      478. Deutsche Bank, acting through its employees and officers, participated

in the operation and management of the enterprise itself. For example, Deutsche

Bank officers met personally with Epstein at his New York mansion, during which

they collectively shaped the conduct of the affairs of the Epstein Sex Trafficking

Enterprise.

      479. Deutsche Bank, acting through its employees and officers, exercised a

significant degree of direction over the affairs of the Enterprise and played a part in

directing the affairs of the Enterprise.

      480. Deutsche Bank, acting through its employees and officers, aided and

abetted Epstein, who participated in the operation and management of the Enterprise.

      3. Acts of Racketeering

      481. Deutsche Bank and others acting in concert with them as part of the

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Epstein Sex-Trafficking Enterprise engaged in racketeering activity within the

meaning of RICO, 18 U.S.C. § 1961(1)(B), when they engaged in acts “indictable

under” 18 U.S.C. §§ 1581–1594 (the statutes relating to peonage, slavery, and

trafficking in persons), to wit, the acts in violation of 18 U.S.C. §§ 1591 to 1594

alleged in Counts I–VI and otherwise specified throughout this complaint.

      482. Deutsche Bank and others acting in concert with them as part of the

Epstein Sex-Trafficking Enterprise engaged in racketeering activity within the

meaning of RICO, 18 U.S.C. § 1961(1)(B), when they engaged in acts “indictable

under” 31 U.S.C. § 5322 (the Bank Secrecy Act) and failing to adhere to the

minimum due diligence requirements contained in 31 C.F.R. § 1010.620, by (among

other things) (1) failing to ascertain the source of Epstein’s funds and the purpose

and expected use of his accounts; and (2) ensuring that the activity in Epstein’s

accounts was consistent with the information Deutsche Bank obtained about

Epstein’s source of the funds and stated purpose and expected use of the accounts.

Deutsche Bank’s knowing, intentional, and willful failure to comply with federal

laws and banking regulations constituted a felony under 31 U.S.C. § 5322(a).

      483. The acts of racketeering described in the paragraphs above occurred

within about August 2013 and about July 2020.

      484. As an example of acts of racketeering, on multiple occasions Deutsche

Bank participated in TVPA violations by provided substantial sums of cash to

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Epstein, which he then used to conclude coercive acts of commercial sex abuse and

sex trafficking, in violation of the TVPA (as elaborated in detail in Count II and

elsewhere above).

      485. As another example of acts of racketeering, on multiple occasions

Deutsche Bank knowingly received benefits from participated in sex trafficking by

provided substantial sums of cash to Epstein, which he then used to conclude

coercive acts of commercial sex abuse and sex trafficking, in violation of the TVPA

(as elaborated in detail in Count I and elsewhere above).

      486. Among the acts constituting a pattern of racketeering activity, on or

about August 19, 2013, Deutsche Bank opened brokerage accounts for Southern

Trust Company Inc., a self-described “database company and services” founded in

the U.S. Virgin Islands in 2011, and Southern Financial LLC, a wholly owned

subsidiary of Southern Trust Company Inc. Opening these accounts for the Epstein

Sex-Trafficking Enterprise constituted acts which were indictable under 18 U.S.C.

§§ 1581–94, and 18 U.S.C. § 2, for the reasons described above.

      487. Among the acts constituting a pattern of racketeering activity, over the

course of its relationship with the Epstein Sex-Trafficking Enterprise from about

2013 to December 2018, Deutsche Bank would open and allow Epstein to fund more

than 40 accounts at Deutsche Bank. Opening these accounts for the Epstein Sex-

Trafficking Enterprise constituted acts which were indictable under 18 U.S.C. §§

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1581–94, and 18 U.S.C. § 2, for the reasons described above.

      488. Among the acts constituting a pattern of racketeering activity, over the

course of its relationship with the Epstein Sex-Trafficking Enterprise, Deutsche

Bank sent over 120 wires totaling $2.65 million to beneficiaries of the Butterfly

Trust. These transfers furthered the sex-trafficking enterprise, including funds

paying directly for commercial sex acts, funds paid to professionals for carrying out

illegal acts for the operation of the sex-trafficking venture, and paying funds to

others for committing crimes necessary to continue the operation of the sex-

trafficking venture. Sending the wires for the Epstein Sex-Trafficking Enterprise

constituted acts which were indictable under 18 U.S.C. §§ 1581–94, and 18 U.S.C.

§ 2, for the reasons described above.

      489.   Deutsche Bank knowingly facilitated Epstein using Deutsche Bank

accounts to pay for coerced commercial sex acts by Jane Doe 1. Helping Epstein

provide the funding for commercial sex acts constituted acts of racketeering activity

because they were indictable under 18 U.S.C. §§ 1581–94, and 18 U.S.C. § 2, for

the reasons described above.

      4. Pattern of Racketeering Activity

      490. During around August 2013 through the end of 2018, Deutsche Bank

engaged in a pattern of racketeering activity.

      491. Deutsche Bank’s pattern of racketeering activity included repeatedly

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providing approximately $200,000 in cash to the Epstein Sex-Trafficking Enterprise

on a yearly basis.

      492. Deutsche Bank’s pattern of racketeering activity included repeatedly

failing to file required SARs for suspicious cash and other transactions of the Epstein

Sex-Trafficking Enterprise.

      493. Many of the suspicious cash withdrawals made by the Epstein Sex-

Trafficking Enterprise were made in the same way by the same person at the same

branch bank. The cash withdrawals those involved similar methods.

      494. The cash withdrawals all bore a relationship to each other, because they

were providing the necessary funding for the coercive commercial sex trafficking

and sex abuse of the Epstein Sex Trafficking Venture. Indeed, some of the cash

withdrawals necessarily related directly and precisely to each other, because they

were “structured” together to avoid triggering certain current transaction reporting

requirements.

      495. The funding involved similar goals and effects of providing sufficient

cash to allow the Epstein Sex-Trafficking Venture to pay victims for commercial

sex acts in cash, thereby avoiding a paper trail.

      5. Effect on Interstate Commerce

      496. The Epstein Sex Trafficking Enterprise engaged in, and had activities

which affect, interstate and foreign commerce.

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      497. Among the activities of the Enterprise which had an effect on interstate

commerce were cellular and other telephone calls to Epstein’s victims to schedule

time for sexual abused.

      498. Among the activities of the Enterprise which had an effect on interstate

commerce were cash withdrawals from Deutsche Bank, which does business in and

effecting interstate commerce.

      499. Among the activities of the Enterprise which had an effect on interstate

commerce were movements of Epstein, his confederates, and his victims on aircraft

moving in interstate commerce.

      6. Injury to Business and Property by Reason of the RICO Violation

      500. By reason of its violations of 18 U.S.C. § 1962(c), Deutsche Bank has

directly and proximately caused Jane Doe 1 and the Class Members serious and

permanent economic injury to their businesses and property, including, without

limitation, pecuniary harm to their careers and professional prospects, in an amount

to be determined at trial. Deutsche Bank’s violations continue to cause economic

harm and injury to Jane Doe 1 and other Members of the Class.

      501. Deutsche Bank’s acts of racketeering and activities as part of the

Epstein’s Sex-Trafficking Enterprise, described above, have directly and

proximately caused Jane Doe 1 and the Class Members serious and permanent

economic injury to their businesses and property, including, without limitation,

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pecuniary harm to their careers and professional prospects, in an amount to be

determined at trial.

      502. As an example of the injury to business and property suffered by Jane

Doe 1 and other Class Members, because of being coercively sex trafficked and

sexually abused by Epstein, Jane Doe 1 and other Class Members were preventing

from pursuing other employment opportunities. As a direct and proximate result of

the acts of the RICO Enterprise generally and Deutsche Bank in particular, Jane Doe

1 and the Class Members lost legitimate employment opportunities. The lost

opportunities produced concrete financial loss.

      503. As another example of the injury to business and property suffered by

Jane Doe 1 and other class members, because of being coercively sex trafficked and

sexually abused by Epstein and the Enterprise, Jane Doe 1 and other Class Members

directly and proximately lost an ability to pursue gainful employment while being

coercively sexually trafficked and sexually abused by Epstein. Indeed, it is these

lost opportunities—which themselves constituted injury to business and property—

were the Enterprise’s direct target, because the lost opportunities rendered Jane Doe

1 and the other Class Members more economically and financially reliant on the

Sex-Trafficking Enterprise and therefore more vulnerable to the trafficking and

abuse. It was part of Epstein’s coercive sex trafficking that he would discourage and

prevent Jane Doe 1 and the Class Members from obtaining employment and income

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outside of that provided by the Sex-Trafficking Enterprise.

      504. Direct and proximately because of the pattern of racketeering activity

by the Epstein Sex-Trafficking Enterprise, Jane Doe 1 and other Class Members

were rendered, in whole or substantial part, economically dependent on the

Enterprise and therefore more vulnerable to the Enterprise’s sex trafficking. Indeed,

it was part of the Enterprise’s pattern of racketeering activity—and a goal of that

activity— to render its victims economically vulnerable to any effort to escape from

Epstein’s sex trafficking.

      505. As another example of the injury suffered by Jane Doe 1 and other class

members, because of being coercively sex trafficked and sexually abused by Epstein,

Jane Doe 1 and other Class Members were falsely promised certain employment and

professional opportunities by Epstein, which prevented them from pursuing other

employment opportunities. Again, these false promises were part of the Enterprise’s

operation, because they forced and caused Epstein’s victims to participate in

commercial sex acts. Forcing sex-trafficking victims into a position of economic

dependency on their traffickers is a well-known means of coercion—one that

Deutsche Bank should have recognized and, in fact, did recognize.

      506. As another example of the injury suffered by Jane Doe 1 and other class

members, Jane Doe 1 and other Class Members incurred alleged debts to the Epstein

Sex-Trafficking Enterprise, which constituted injury to business and property. Jane

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Doe 1 and the other Class Members would then be forced to pay off those debts by

submitting to Epstein’s sexual demands.        More generally, the Epstein Sex-

Trafficking Enterprise forced Jane Doe 1 and the Class Members to participate in

commercial sex acts by creating economic dependency on the Enterprise.

      507. The losses to their business and property that Jane Doe 1 and the Class

Members suffered were by reason of the Epstein-Sex Trafficking Enterprise and its

RICO violations.    These losses were directly and proximately caused by the

Enterprise’s misconduct, including the predicate acts committed by the Enterprise.

Because the losses stemmed from being forced to engage in commercial sex acts,

the Enterprise’s violations of 18 U.S.C. § 1591 were the direct (i.e., the “but-for”)

cause of the losses. Because those commercial sex acts were readily foreseeable

(and, indeed, were foreseen) by the participants in the Enterprise—including

Deutsche Bank—the losses were proximately caused by the Enterprise’s violations

of 18 U.S.C. §§ 1591–94 and 1962(c).

      508. The losses to the business and property that Jane Doe 1 and the Class

Members suffered were directly caused by Deutsche Bank’s violations of 18 U.S.C.

§§ 1591–94 and 1962(c). There was a direct relationship between Deutsche Bank’s

violations of 18 U.S.C. §§ 1591–94 and 1962(c). Put directly, the Epstein Sex-

Trafficking Enterprise was committing coercive sex-trafficking; and Jane Doe 1 and

the Class Members were the direct and intended victims of that coercive-sex

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trafficking. There was no attenuation between the Enterprise and the injuries to

business and property it caused to Jane Doe 1 and the Class Members. There were

no intervening causes of the injuries to business and property suffered by Jane Doe

1 and the Class Members.

      509. Jane Doe 1 and the Class Members are in the best position to enforce

the legal requirements in question, including the legal requirements stemming from

18 U.S.C. § 1591–94 and 18 U.S.C. § 1962(c). They are young women who have

suffered losses to business and property from the coercive sex-trafficking by the

Epstein Sex-Trafficking Enterprise and are seeking to hold accountable those

responsible for the losses to business and property from that victimization. There

are no more directly injuries parties who could bring this suit.

      510. Jane Doe 1 and the other Class Members will be able to provide

reasonable quantification of the losses to their business and property at trial.

Determining those losses will not be difficult and no complicated rules will be

required to avoid the risk of multiple recoveries.

      511. Jane Doe 1 and other Class Members will be able to acquire additional

evidence supporting their RICO losses through discovery.

      512. Deutsche Bank received income in interstate commerce, derived

directly and indirectly from participating in a pattern of racketeering activity,

specifically by obtaining interest and other things of value from financially

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supporting and participating in the Epstein Sex-Trafficking Enterprise.

      513. Deutsche Bank and its employees participated directly and indirectly in

the conduct of the Epstein Sex-Trafficking Enterprise, through a pattern of

racketeering activity, including knowingly funding the Enterprise’s commercial sex

trafficking.

      514. Deutsche Bank’s RICO violations are both the but-for cause and the

proximate cause of business and property injuries to Jane Doe 1 and the Class

Members’ injuries. As explained throughout, Deutsche Bank bankrolled the Epstein

Sex-Trafficking Enterprise and enabled Epstein to have ready and reliable access to

resources—including cash and a variety of bank accounts and other financial tools—

to recruit, entice, solicit, harbor, provide, obtain, and transport young women and

girls to sexually abuse them and to cause them to engage in commercial sex acts.

Deutsche Bank’s actions both directly and foreseeably resulted in the trafficking of

Jane Doe 1 and the Class Members and the resulting injuries to their businesses and

property.

      515. Pursuant to 18 U.S.C. § 1964(c), Jane Doe 1 and the Class Members

are entitled to treble damages, plus costs and attorneys’ fees from Deutsche Bank.

                       COUNT VIII
    CONSPIRACY TO COMMIT VIOLATIONS OF RICO, 18 U.S.C. §§
                      1962(d), 1964(c)

      516. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs


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1 – 314, as if fully set forth in this Count.

      517. In this RICO conspiracy count, Jane Doe 1 realleges and incorporates

by reference paragraphs 470 – 514 of this complaint, which allege a substantive

RICO violation.

      518. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      519. RICO makes it unlawful “for any person to conspire to violate” the

provisions of 18 U.S.C. § 1962(a)–(c). 18 U.S.C. § 1962(d). RICO’s conspiracy

provision does not require the commission of an overt act, although Deutsche Bank

did commit overt acts in furtherance of the RICO conspiracy in this District.

      520. Between about August 2013 and about July 2020, Deutsche Bank

unlawfully, knowingly, and willfully, combined, conspired, confederated, and

agreed together with members of the Epstein Sex-Trafficking Enterprise to violate

18 U.S.C. § 1962(c) as described above, in violation of 18 U.S.C. § 1962(d).

Deutsche Bank specifically conspired and agreed to the commission of two or more

predicate acts, which were described in the previous Count. For example, Deutsche

Bank conspired and agreed that Epstein would commit multiple acts of coercive sex

trafficking in violation of the TVPA, 18 U.S.C. §§ 1591–94. As another example,

Deutsche Bank conspired and agreed that it would commit multiple violations of

federal banking laws, including 31 U.S.C. § 5332(a) and 31 C.F.R. § 1010.620.

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      521. In addition to participating in the conduct of the affairs of the Epstein

Sex-Trafficking Venture, Deutsche Bank conspired with Epstein in his conduct of

the affairs of the Epstein Sex-Trafficking Venture. Deutsche Bank knew many of

the details of the Epstein Sex-Trafficking Venture, including in particular the

funding of the venture. Epstein was, along with others (including Deutsche Bank)

operating and managing the Epstein-Sex Trafficking Venture.

      522. Deutsche Bank’s conspiracy was central to the affairs of the Epstein-

Sex Trafficking Venture. Without its agreement to fund and conceal the activities

of the Venture, Epstein would not have been able to move forward with the Venture.

      523. Deutsche Bank knew that, as part of the Epstein Sex-Trafficking

Venture, Epstein was going to commit multiple predicate acts under RICO,

including coercive commercial sex acts and sex trafficking. Deutsche Bank also

new that these acts would constitute a pattern and practice of the venture, because

the coercive commercial sex acts and sex trafficking would be committed against

Jane Doe 1 and the Class Members in a substantially similar way.

      524. By and through Deutsche Bank’s unique and special relationships with

Epstein and his co-conspirators and its close coordination in the affairs of the Epstein

Sex-Trafficking Enterprise, Deutsche Bank knew the criminal nature of the

Enterprise and knew that the Enterprise extended beyond Deutsche Bank’s role.

Moreover, through the same connections and coordination, Deutsche Bank knew

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that it was joining with Epstein and his associates in a conspiracy to commit sex

trafficking, in violation of 18 U.S.C. §§ 1581–94.

      525. Deutsche Bank knowingly conspired and agreed to facilitate, conduct,

and participate in the aforementioned Enterprise engaged in racketeering activity

within the meaning of RICO, 18 U.S.C. §1961(1)(B), when it engaged in acts

“indictable under” 18 U.S.C. §§ 1581–1594 (the statutes relating to peonage,

slavery, and trafficking in persons), including the acts in violation of 18 U.S.C. §

1591–94 alleged in Counts I–VI and otherwise specified throughout this complaint,

as well as acts in violation of 18 U.S.C. § 2.

      526. Deutsche Bank knowingly conspired and agreed to facilitate, conduct,

and participate in the aforementioned Enterprise engaged in racketeering activity

within the meaning of RICO, 18 U.S.C. §1961(1)(B), when it engaged in acts

“indictable under” 31 U.S.C. § 5322(a).

      527. Deutsche Bank also committed multiple crimes in furtherance of the

conspiracy, as alleged in the preceding counts of this Complaint. Deutsche Bank

intended its crimes to further the Enterprise’s affairs.

      528. Deutsche Bank’s agreement and conspiracy was necessary to allow the

commission of this conspiracy.

      529. Jane Doe 1 and the Class Members have been and will continue to be

directly and proximately injured in their business and property by reason of Deutsche

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Bank’s violations of 18 U.S.C. § 1962(d). Deutsche Bank’s conspiracy directly and

proximately caused these injuries because, without the conspiracy, the injuries

would not have occurred.

       530. As a direct and proximate result of its violation of 18 U.S.C. § 1962(d),

Deutsche Bank has directly and proximately caused Jane Doe 1 and the Class

Members serious and permanent economic injury to their businesses and/or

property, including, without limitation, pecuniary harm to their careers and

professional prospects, in an amount to be determined at trial. Deutsche Bank’s

violations continue to cause economic harm and injury to Jane Doe 1 and other

Members of the Class.

       531. Pursuant to 18 U.S.C. § 1964(c), Jane Doe 1 and the Class Members

are entitled to treble damages, plus costs and attorneys’ fees from Deutsche Bank.

                             COUNT IX
           AIDING, ABETTING, AND FACILITATING BATTERY
       532. Plaintiff Jane Doe 1 realleges and incorporates by paragraphs 1 – 314,

as if fully set forth in this Count.

       533. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

       534. Between about August 19, 2013, and August 10, 2019, in this District

in New York, Epstein intentionally committed batteries and other intentional tortious

conduct, including crimes in violation of New York Penal Law Chapter 130 such as
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New York Penal Law §§ 130.20, 130.35, 130.50, 130.52, and 130.66 (hereinafter

“Chapter 130 crimes”), against Jane Doe 1 and Class Members. Epstein committed

the batteries, intentional tortious conduct, and crimes against Jane Doe 1 and Class

Members when they were 18 or older. As described throughout this complaint,

Epstein intentionally and non-consensually touched Jane Doe 1 and the Class

Members in a harmful and offensive manner that resulted in substantial injuries,

including damages from physical and psychological injury, extreme emotional

distress, humiliation, fear, psychological trauma, loss of dignity and self-esteem, and

invasion of privacy.

      535. The resulting injuries that Jane Doe 1 and the Class Members suffered

include injuries directly and proximately suffered as a result of sex offenses

committed by Epstein and criminalized under article 130 of the New York Penal

Laws. The offenses included sexual intercourse without consent and oral sexual

conduct without consent, forbidden by New York Penal Law § 130.20. The offenses

included forcible touching of sexual or other intimate parts without consent,

forbidden by New York Penal Law §§ 130.20, 130.35, 130.50, 130.52, and 130.66.

      536. Regardless of when these Chapter 130 crimes were committed by

Epstein, the crimes are now civilly actionable, regardless of any statute of limitations

to the contrary, because they are covered by the one-year “look back” window in

New York Adult Survivors Act. See N.Y. C.P.L.R. § 214-j.

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      537. Between about August 19, 2013, and August 10, 2019, Deutsche Bank

knowingly and intentionally aided, abetted, and facilitated Epstein’s intentional

tortious conduct (e.g., sexual battery), through his Chapter 130 crimes, of Jane Doe

1 and the Class Members. Because Deutsche Bank aided, abetted, and facilitated

Epstein’s tortious conduct, battery, and crimes, it is vicariously and otherwise liable

for damages caused by Epstein’s tortious conduct, battery, and crimes.

      538. Between about August 19, 2013, and August 10, 2019, when it provided

substantial assistance to Epstein, Deutsche Bank was well aware of its important and

substantial role as a part of Epstein’s intentionally tortious and illegal activity in

committing Chapter 130 Crimes.

      539. Deutsche Bank substantially assisted, and indeed encouraged, Epstein

to commit sexual battery against Jane Doe 1 and the Class Members by financially

aiding and enabling Epstein’s sex-trafficking venture, as outlined throughout this

complaint. By aiding Epstein through providing hundreds of thousands of dollars in

cash, which was a necessary and required part of Epstein’s sex-trafficking

organization, Deutsche Bank was a substantial factor in the battery of Jane Doe 1

and the other Members of the Class.

      540. At the time of Epstein’s batteries, intentionally tortious conduct, and

crimes against Jane Doe 1 and the Class Members, Deutsche Bank was well aware

of Epstein’s sex-trafficking venture and that its acts in furtherance of the venture

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were also aiding, abetting and facilitating his batteries, tortious conduct, and crimes.

      541. At the time of Epstein’s crimes against Jane Doe 1 and the Class

Members, Deutsche Bank knowingly provided substantial assistance in Epstein’s

tortious conduct. That knowing substantial assistance went beyond mere knowledge

and approval of Epstein’s wrongdoing. For example, Deutsche Bank knowingly and

intentionally provided the cash and the financial support that made it possible for

Epstein to commit the coercive sex offenses described in the preceding paragraphs

in this Count. Without that cash and financial support, Epstein could not have

committed his tortuous conduct and crimes—a fact that Deutsche Bank knew.

      542. Deutsche Bank knowingly committed both overt acts in support of

Epstein and substantial deliberate omissions in support of Epstein. For example,

Deutsche Bank deliberately omitted to take important steps (such as filing SARs)

that substantially assisted Epstein to commit his crimes against Jane Doe 1 and Class

Members in violation of New York Penal Law Chapter 130.

      543. In aiding, abetting, and facilitating Epstein’s tortious conduct and

crimes, Deutsche Bank could readily foresee direct and proximate injury to Jane Doe

1 and the Class Member. Deutsche Bank should have foreseen direct and proximate

injury from its actions and inactions to Jane Doe and the Class Members. Indeed,

Deutsche Bank did foresee injury to Epstein’s victims, including Jane Doe 1 and

Class Members.

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       544. As a result of the foregoing, Deutsche Bank is liable civilly for damages

it directly, proximately, tortiously, and criminally caused to Jane Doe 1 and the Class

Members. Jane Doe 1 and the Class Members according are entitled to bring a cause

of action for damages for physical, psychological, or other injury or condition

suffered as a direct and proximate result of Deutsche Bank’s aiding and abetting

Epstein’s battery described above and for damages for physical, psychological, or

other injury or condition suffered as a direct and proximate result of Epstein’s

battery.

       545. By virtue of acting intentionally, outrageously, and with a high degree

of moral turpitude and demonstrating such wanton dishonesty as to imply a criminal

indifference to civil obligations, Deutsche Bank is liable to Jane Doe 1 and other

Members of the Class for punitive damages.

                             COUNT X
           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
       546. Plaintiff Jane Doe 1 realleges and incorporates by paragraphs 1 – 314,

as if fully set forth in this Count.

       547. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

       548. As a direct and proximate result of aiding, abetting, and facilitating

Epstein’s tortious conduct and sex crimes in violation of Chapter 130, Deutsche

Bank intentionally inflicted emotional distress against Jane Doe 1 and the Class
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Members.

      549. Deutsche Bank’s actions constitute extreme and outrageous conduct

that shocks the conscience.       For example, Deutsche Bank intentionally and

knowingly participated in Epstein’s sex-trafficking venture. Deutsche Bank had a

legal duty not to participate in, facilitate, or aid and abet Epstein’s sex-trafficking

venture and Epstein’s Chapter 130 Crimes.

      550. Deutsche Bank’s conduct was especially extreme and outrageous due

to Jane Doe 1 and the Class Members’ particular vulnerabilities as targets of a sex-

trafficking venture.

      551. Deutsche Bank intended to cause, and did cause, Jane Doe 1 and the

Class Members severe emotional distress. At the very least, Deutsche Bank

recklessly disregarded a substantial probability that its actions in aiding, abetting,

and facilitating Epstein’s sex crimes would cause Jane Doe 1 and the Class Members

severe emotional distress.

      552. Because Deutsche Bank intentionally inflicted extreme emotional

distress on Jane Doe 1 and the Class Members, it is liable to Jane Doe 1 and the

Class Members for damages they suffered as a direct and proximate result.

      553. As a direct and proximate result of Deutsche Bank’s conduct, Jane Doe

1 and the Class Members have in the past and will in the future continue to suffer

substantial damages from psychological and physical injury, including extreme

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emotional distress, humiliation, fear, psychological trauma, loss of dignity and self-

esteem, and invasion of privacy. Deutsche Bank’s aiding, abetting, and facilitating

Epstein’s sex crimes in violation of Chapter 130 directly and proximately caused

Epstein’s sex crimes.

      554. By virtue of acting intentionally, outrageously, and with a high degree

of moral turpitude and demonstrating such wanton dishonesty as to imply a criminal

indifference to civil obligations, Deutsche Bank is liable to Jane Doe 1 and other

Members of the Class for punitive damages.

                        COUNT XI
    NEGLIGENT FAILURE TO EXERCISE REASONABLE CARE TO
                 PREVENT PHYSICAL HARM

      555. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

      556. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      557. In addition to any duties that might arise as a financial institution (as

alleged in the next Count, below), Deutsche Bank owed a duty to Jane Doe 1 and the

Class Members to exercise reasonable care to avoid conduct that created a risk of

physical harm to them. Deutsche Bank’s duties included a duty to exercise

reasonable care to avoid conduct that would combine with Epstein’s (and others’)

crimes, and permit Epstein’s crimes, in violation of Chapter 130.

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        558. Deutsche Bank’s own conduct in providing financial and other support

for Epstein’s sex trafficking venture set forces in motion that directly and

proximately injured and caused physical harm to Jane Doe 1 and the Class Members.

These forces that Deutsche Bank set in motion caused Epstein’s intentional tortious

conduct and Chapter 130 Crimes against Jane Doe 1 and the Class Members, causing

physical harm and in themselves constituted physical harm to Jane Doe 1 and the

Class Members. Deutsche Bank owed Jane Doe 1 and the Class Members a duty not

to set those forces in motion because they unreasonably created a risk of physical

harm.

        559. Deutsche Bank reasonably could foresee, and did in fact foresee, that

its negligent failure to prevent physical harm would result in physical harm to Jane

Doe 1 and the Class Members. Deutsche Bank owed a duty to prevent that physical

harm.

        560. Deutsche Bank failed to act objectively reasonably in failing to take

precautions to prevent Epstein’s intentional tortious conduct and sex-trafficking and

sex crimes in violation of Chapter 130, which were committed against Jane Doe 1

and the Class Members. If Deutsche Bank had acted reasonably to prevent physical

harm, it would not have supported and allowed Epstein’s sex-trafficking and sex

crimes to occur. Deutsche Bank owed Jane Doe 1 and the Class members a duty to

act objectively reasonably.

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      561. At the time of Deutsche Bank’s own negligent conduct, Deutsche Bank

both realized and should have realized the likelihood that it was creating an

opportunity for Epstein to commit intentional tortious conduct and Chapter 130

Crimes against Jane Doe 1 and the Class Members. Indeed, Deutsche Bank knew

that its own conduct was necessary to create Epstein’s and others’ opportunities to

engage in that conduct and commit those crimes. Deutsche Bank owed Jane Doe 1

and the Class Members a duty not to create those opportunities for Epstein and

others.

      562. In aiding, abetting, and facilitating Epstein’s tortious conduct and

crimes, Deutsche Bank committed intentional torts directed against Jane Doe 1 and

the Class Members. Deutsche Bank’s aiding, abetting, and facilitating Epstein’s

tortious conduct and crimes were its own wrongful acts and omissions. Deutsche

Bank had a duty not to commit tortious conduct and crimes—specifically aiding,

abetting, and facilitating New York sex crimes as described above— directed against

Jane 1 and the Class Members.

      563. Deutsche Bank’s breaches of its legal duties were the direct—i.e., the

but-for—cause of physical and psychological injuries to Jane Doe 1 and the Class

Members. Without Deutsche Bank’s breaches of legal duties, those injuries would

not have occurred. The injuries that occurred were readily foreseeable to Deutsche

Bank and proximately caused by Deutsche Bank’s breaches.

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      564. Jane Doe 1 and the Class Members were easily within the zone of

foreseeable harm from the Deutsche Bank’s negligent acts and omissions. Deutsche

Bank’s negligent acts and omissions foreseeably created substantial risk of Jeffrey

Epstein and his co-conspirators committing sex crimes against young women with

whom he was in contact. Tragically, Jane Doe 1 and the Class Members fell within

that zone.

      565. Because of Deutsche Bank’s negligent failure to prevent physical harm

to Jane Doe 1 and the Class Members, it is liable to Jane Doe 1 and the Class

Members for damages suffered as a direct and proximate result.

      566. As a direct and proximate result of Deutsche Bank’s negligent failure

to prevent physical harm, Jane Doe 1 and the Class Members have in the past and

will in the future continue to suffer substantial damages from psychological and

physical injury, including extreme emotional distress, humiliation, fear,

psychological trauma, loss of dignity and self-esteem, and invasion of privacy.

Deutsche Bank’s aiding, abetting, and facilitating Epstein’s tortious conduct and sex

crimes in violation of Chapter 130 directly and proximately caused Epstein’s sex

crimes.

      567. By virtue of acting intentionally, outrageously, and with a high degree

of moral turpitude and demonstrating such wanton dishonesty as to imply a criminal

indifference to civil obligations, Defendant is liable to Jane Doe 1 and other

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Members of the Class for punitive damages.

                        COUNT XII
   NEGLIGENT FAILURE TO EXERCISE REASONABLE CARE AS A
   BANKING INSTITUTION PROVIDING NON-ROUTINE BANKING

      568. Plaintiff Jane Doe 1 realleges and incorporates by reference paragraphs

1 – 314, as if fully set forth in this Count.

      569. Jane Doe 1 brings this Count individually and on behalf of the other

Class Members she respectively seeks to represent.

      570. Deutsche Bank owed a duty to Jane Doe 1 and the Class Members not

to knowingly provide non-routine banking assistance to Epstein that it knew, and

reason to know, would lead to and support intentional tortious conduct and Chapter

130 Crimes by Epstein (and others) against Jane Doe 1 and the Class Members.

      571. As described in detail in the fact section of this Complaint, Deutsche

Bank did not merely provide routine banking assistance to Epstein. Instead, it

participated in, aided and abetted, and facilitating his sex-trafficking venture and his

commission of intentional tortious conduct and Chapter 130 crimes. Deutsche Bank

also knew, and was willfully blind to the fact, that it was going beyond providing

routine banking by facilitating Epstein’s sex-trafficking venture and his commission

of Chapter 130 crimes.

      572. As an example, in providing hundreds of thousands of dollars in cash

to Epstein and his co-conspirators in circumstances where it knew that the cash

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would be used to facilitate coercive sex acts, Deutsche Bank took substantial actions

outside the scope of routine banking assistance.

      573. As another example, Deutsche Bank deliberately failed to follow

numerous banking requirements in connection with financial dealings with Epstein,

including AML rules, KYC rules, and anti-structing rules. In deliberately ignoring

and failing to follow those rules, Deutsche Bank acted in a non-routine way to

facilitate and support Epstein’s and his co-conspirators’ intentional torts, sex-

trafficking and commission of Chapter 130 Crimes.

      574. Deutsche Bank failed to act objectively reasonably by failing to comply

with relevant banking laws and regulations with regard to its interactions with

Epstein and his co-conspirators. Deutsche Bank owed a duty to Jane Doe 1 and the

Class Members to act objectively reasonably in its interactions with Epstein and his

co-conspirators and to exercise reasonable care to prevent them from engaging in

foreseeable intentional torts and criminal activity by using Deutsche Bank’s

exceptional and non-routine banking assistance.

      575. Deutsche Bank owed a legal duty to Jane Doe 1 and the Class Members

to act objectively reasonably and to not deliberately ignore banking obligations,

including KYC and AML laws and regulations described above, so as to provide

Epstein and others with an opportunity to engage in coercive sex-trafficking and

Chapter 130 Crimes.

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      576. Under KYC, AML, and related laws and regulations, Deutsche Bank

had special duties not ignore crimes being committed by its customers—duties

above and beyond any duties that the general public may have. The inquiries that

banks must make include duties to inquire about specific individuals who banks

know are being harmed. The regulations establish a duty of care that must be

followed by banks, including Deutsche Bank. These duties exist at least in situations

where a bank is knowingly going beyond offering routine banking to its customers

and offering bank accounts, currency, and other assistance specially adapted to

facilitate crimes.

      577. Deutsche Bank also owed Jane Doe 1 and the Class Members a duty of

care because it knew, and had reason to know, that Epstein and his co-conspirators

were using Deutsche Bank to facilitate a sex-trafficking venture, raising a duty to

make a reasonable inquiry about suspicious activity.

      578. Deutsche Bank owed Jane Doe 1 and the Class Member a duty not to

deliberately and purposely fail to file SARs, which would have alerted federal

authorities to Epstein’s and his co-conspirators’ illegal activities, including

committing Chapter 130 Crimes.

      579. Deutsche Bank also owed Jane Doe 1 and the Class Members a duty to

prevent physical harm to them when confronted with explicit information that

Epstein and his co-conspirators were using Deutsche Bank’s non-routine assistance

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to further a sex-trafficking venture harming Jane Doe 1 and the Class Members.

Once Deutsche Bank had information about Epstein’s use of Deutsche Bank for a

sex-trafficking venture that was physically harming Jane Doe 1 and the Class

Members, it owed them a duty of care to investigate and prevent Epstein’s and his

co-conspirators’ suspicious and criminal activities.

      580. In the exercise of reasonable care, Deutsche Bank and its employees

knew, and should have known, of the dangerous propensities of Jeffrey Epstein to

commit violations of article 130 of New York Penal Law against women and girls

with whom he was in close proximity, including Jane Doe 1 and the Class Members.

      581. Deutsche Bank also owed Jane Doe 1 a duty of care because Epstein

and his agents opened a bank account in her name with Deutsche Bank, making her

a customer of Deutsche Bank.

      582. Deutsche Bank breached its legal duties to Jane Doe 1 and the Class

Members as described above. Deutsche Bank’s breach of its duties led to it failing

to prevent Epstein from committing Chapter 130 Crimes against Jane Doe 1 and the

Class Members. Deutsche Bank realized that Epstein were committing Chapter 130

Crimes against Jane Doe 1 and the Class Members. The criminal activity that harmed

Jane Doe 1 and the Class Members included foreseeable TVPA and Chapter 130

Crimes committed by the Epstein.

      583. As a direct and proximate result of the breach of legal duties by

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Deutsche Bank, Jane Doe 1 and the Class Members repeatedly suffered direct and

foreseeable injuries from Epstein and his co-conspirators, including federal and state

sexual offenses (including sexual assaults) and resulting emotional distress, mental

pain and suffering, and other physical, psychological, and other injuries.

      584. The breaches of legal duties were the direct—i.e., the but-for—cause

of these physical and psychological injuries to Jane Doe 1 and the Class Members.

Without Deutsche Bank’s breaches of legal duties, those injuries would not have

occurred. The injuries that occurred were readily foreseeable to Deutsche Bank.

      585. The injuries that Plaintiff Jane Doe 1 and the Class Members suffered

included injuries directly and proximately suffered while they were adults who were

present in this District. These injuries are permanent in nature and Jane Doe 1 and

the other Class Members will continue to suffer these losses in the future.

      586. Deutsche Bank could reasonably foresee that their actions and

omissions in facilitating Epstein’s sex trafficking enterprise would lead to intentional

torts and sex offenses against Jane Doe 1and the Class Members. Indeed, Deutsche

Bank was aware, and should have been aware, that Epstein was a “high risk” to

commit sex offenses against young women and girls. As the New York banking

regulators concluded, the fact that Epstein was engaging in suspicious transactions

“should have been obvious to [Deutsche] Bank personnel at various levels.”

      587. Jane Doe 1 and the Class Members were easily within the zone of

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foreseeable harm from Deutsche Bank’s negligent acts and omissions. Deutsche

Bank’s acts and omissions foreseeably created substantial risk of Jeffrey Epstein

committing sex crimes against young women with whom he was in contact.

Tragically, Jane Doe 1 and the Class Members fell within that zone.

      588. While the foregoing allegations easily make out a clear case of

negligence, this case does not involve mere negligence. Instead, Defendants’ tortious

conduct in this case evinced a high degree of moral turpitude and demonstrated such

wanton dishonesty as to imply a criminal indifference to civil obligations. It also

involved outrageous and intentional acts and omissions, because it was a deliberate

attempt to further the crimes of a widespread and dangerous criminal sex trafficking

organization. Defendants’ tortious conduct was directed specifically at Jane Doe 1

and other Members of the Class, who were the victims of Epstein’s sexual abuse and

sex trafficking organization.

      589. As a result of Deutsche Bank’s negligent actions and omissions

described in this Count, Jane Doe 1 and the Class Members have sustained both

general and specifical damages from physical and psychological injury in substantial

amounts.

      590. By virtue of acting intentionally, outrageously, and with a high degree

of moral turpitude and demonstrating such wanton dishonesty as to imply a criminal

indifference to civil obligations, Deutsche Bank is liable to Jane Doe 1 and other

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Members of the Class for punitive damages.

                           IX. REQUEST FOR RELIEF

      Jane Doe 1 respectfully requests that the Court enter judgment in her favor,

and against Deutsche Bank, as follows:

      a. That the Court certify the Class, name Jane Doe 1 as Class

         Representative, and appoint her lawyers as Class Counsel;

      b. That the Court award Plaintiff and the other Members of the Class

         compensatory, consequential, general, and nominal damages against

         Defendants in an amount to be determined at trial;

      c. That the Court award punitive and exemplary damages and treble damages

         against Defendants in an amount to be determined at trial;

      d. That the Court award to Jane Doe 1 and the other Members of the Class the

         costs and disbursements of the action, along with reasonable attorneys’

         fees, costs, and expenses;

      e. That the Court award pre- and post-judgment interest at the maximum

         legal rate; and

      f. That the Court grant all such other and further relief as it deems just and

         proper.

                                 JURY DEMAND

      Plaintiff demands a trial by jury on all claims so triable.


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Dated: January 13, 2023

                             Respectfully Submitted,
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